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14                           UNITED STATES BANKRUPTCY COURT

15                                     DISTRICT OF OREGON

16   In re                                                  Case No. 19-60138-pcm11
17   B. & J. Property Investments, Inc.,
18                         Debtor.
19
     In re                                                  Case No. 19-60230-pcm11
20
     William J. Berman,                                     DEBTORS’ AMENDED JOINT
21                                                          DISCLOSURE STATEMENT
                           Debtor                           (JULY 15OCTOBER 8, 2019)
22

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26
DEBTORS’ AMENDED JOINT DISCLOSURE STATEMENT (JULY 15OCTOBER 8, 2019)

                                               Tonkon Torp LLP
                                               888 SW Fifth Avenue, Suite 1600
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                                                        503-221-1440

                      Case 19-60138-pcm11           Doc 246              Filed 10/09/19
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 1    I.     INTRODUCTION AND SUMMARY

 2           A.      INTRODUCTION

 3           On January 17, 2019 (the “B. & J. Petition Date”), B. & J. Property Investments, Inc.

 4    (“B & J,” or the “Company”) filed a voluntary petition under Chapter 11 of Title 11 of the

 5    United States Bankruptcy Code (the “Bankruptcy Code”). On January 28, 2019 (the

 6    “Berman Petition Date”), William J. Berman (“Berman”) filed a voluntary petition under

 7    Chapter 11 of the Bankruptcy Code. On July 15, 2019, the Company and Berman

 8    (collectively, “Debtors”) filed this Disclosure Statement (the “Disclosure Statement”) with

 9    the U.S. Bankruptcy Court for the District of Oregon (the “Bankruptcy Court”) and their

10    Joint Plan of Reorganization (the “Plan”). A copy of the Plan is included herewith.

11           This Disclosure Statement is being provided to you by Debtors to enable you to make

12    an informed judgment about the Plan. This Disclosure Statement has been prepared to

13    disclose information that in Debtors’ opinion is material, important, and helpful to evaluate

14    the Plan. Among other things, this Disclosure Statement describes the manner in which

15    Claims and Equity Securities will be treated. This Disclosure Statement summarizes the

16    Plan, explains how the Plan will be implemented, outlines the risks of and alternatives to the

17    Plan, and outlines the procedures involved in confirmation of the Plan. The description of

18    the Plan contained in this Disclosure Statement is intended as a summary only and is

19    qualified in its entirety by reference to the Plan itself. If any inconsistency exists between the

20    Plan and this Disclosure Statement, the terms of the Plan shall control. You are urged to

21    review the Plan and, if applicable, consult with your own counsel about the Plan and its

22    impact on your legal rights before voting on the Plan.

23           Capitalized terms used but not defined in this Disclosure Statement shall have the

24    meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

25    contained in this Disclosure Statement is the representation of Debtors only and not of their

26    attorneys, consultants, or accountants. The information has been obtained from the books
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 1    and records of Debtors as well as other sources deemed reliable. Debtors have prepared the

 2    information contained herein in good faith, based on information available to Debtors. The

 3    information herein has not been subject to a verified audit. No representation concerning

 4    Debtors or the Plan is authorized by Debtors other than as set forth in this Disclosure

 5    Statement.

 6           The statements contained in this Disclosure Statement are made as of the date hereof

 7    unless another time is specified herein and the delivery of this Disclosure Statement shall not

 8    imply that there has been no change in the facts set forth herein since the date of this

 9    Disclosure Statement and the date the material relied on in preparation of this Disclosure

10    Statement was compiled.

11           This Disclosure Statement may not be relied on for any purpose other than to

12    determine how to vote on the Plan. Nothing contained herein shall constitute an admission of

13    any fact or liability by any party, or be admissible in any proceeding involving Debtors or

14    any other party, or be deemed advice on the tax or other legal effects of the Plan on the

15    holders of Claims or Equity Securities.

16           This Disclosure Statement has been approved by Order of the Bankruptcy Court as

17    containing information of a kind and in sufficient detail to enable a hypothetical reasonable

18    investor typical of holders of Claims or Equity Securities of relevant classes to make an

19    informed judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure

20    Statement, however, does not constitute a recommendation by the Bankruptcy Court either

21    for or against the Plan.

22           The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to

23    commence on _______________, 2019 at _____ Pacific time. That hearing will be held at

24    the U.S. Bankruptcy Court for the District of Oregon, 1050 SW Sixth Ave.,

25    Courtroom _____, Portland, Oregon 97204, before the Honorable ____________________.

26    The hearing on confirmation may be adjourned from time to time by the Bankruptcy Court
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 1    without further notice except for an announcement made at the hearing on any adjournment

 2    thereof.

 3            A ballot has been enclosed with this Disclosure Statement for use in voting on the

 4    Plan. In order to be tabulated for purposes of determining whether the Plan has been

 5    accepted or rejected, ballots must be received at the address indicated on the ballot no later

 6    than 4:00 p.m. on ________, 2019. Debtors believe that confirmation of the Plan is in the

 7    best interests of the holders of Claims and urge you to accept the Plan.

 8            This Disclosure Statement contains projected financial information and estimates that

 9    demonstrate the feasibility of the Plan of Reorganization and Debtors’ ability to continue

10    operations upon emergence from proceedings under the Bankruptcy Code. Debtors prepared

11    such information for the limited purpose of furnishing information to Creditors to allow them

12    to make an informed judgment regarding acceptance of the Plan of Reorganization. The

13    projections and estimates of value should not be regarded for the purpose of this Disclosure

14    Statement as representations or warranties by Debtors as to the accuracy of such information

15    or that any such projections or valuations will be realized. Actual results could vary

16    significantly from these projections.

17            B.      SUMMARY OF THE PLAN

18            A copy of the Plan is attached and discussed in detail later in this Disclosure

19    Statement. The following description of the Plan is intended as a summary only and is

20    qualified in its entirety by reference to the Plan. Debtors urge each holder of a Claim to

21    carefully review the entire Plan, together with this Disclosure Statement, before voting on the

22    Plan.

23                    1.       General

24            Generally, the Plan provides that (a) Debtors will operate in the ordinary course and

25    pay and satisfy their obligations from revenue generated by operations; and (b) Debtors shall

26    seek to prevail on the appeal in the Class Action Case so they may pay all Creditors in full
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 1    over time; or (c) if Debtors are unable to prevail, or at least substantially prevail on the

 2    appeal, (i) B. & J. will& J. will pursue its malpractice claim against Saalfeld Griggs and if

 3    insufficient funds are recovered, B. & J. will then seek to refinance or sell the Real Property

 4    and liquidate its assets, with the Net Proceeds to be distributed pro rata to Unsecured

 5    Creditors; and (ii) Berman will distribute to unsecured creditors all the projected disposable

 6    income he believes he will receive during the five-year period after the Effective Date.

 7                   2.       Secured Creditors

 8           Reorganized B. & J.’s secured Creditor, Columbia Credit Union (“Columbia”), will

 9    be paid the full amount of its Allowed Secured Claim in accordance with the existing terms

10    of its loan to B. & J., except as modified under the Plan with respect to certain loan terms and

11    covenants set forth in the Plan. The payments to Columbia will be approximately $14,080

12    per month.

13           Reorganized Berman’s secured Creditor, Quicken Loans, Inc. (“Quicken Loans”),

14    will be paid the full amount of its Allowed Secured Claim in accordance with the existing

15    terms of its loan to Berman. Berman’s payments to Quicken Loans will be approximately

16    $2,852 per month.

17                   3.       General Unsecured Creditors

18           Reorganized B.If B. & J. prevails on the appeal of the Class Action Case, B. & J.’s

19    General Unsecured Creditors will be paid in full, together with interest at the federal

20    judgment rate in effect on the Effective Date, from and after the Effective Date, as follows:

21    Commencing. If B. & J. does not prevail on the first dayappeal of the first month following

22    the Effective Date, Class Action Case, and there are insufficient funds from a refinancing or

23    liquidation of the malpractice claims, then General Unsecured Creditors will be paid interest

24    only forpro rata from the sale and liquidation of B. & J.’s assets on a pro rata basis with the

25    first 12 payments, then the full balance of their claims in equal amortizing monthly

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 1    payments, including principal and interest at the federal judgment rate, for the next

 2    36 monthsClass Action Claims.

 3            To the extent not paid by B. & J., Reorganized Berman’s General Unsecured

 4    Creditors and Class Action Creditors (discussed below) shall be paid their pro rata share of

 5    $60,000, which is Berman’s projected disposable income for the five-year period following

 6    the Effective Date. See Exhibit 3, attached hereto.

 7                    4.       Class Action Creditors

 8            Certain Creditors in the Marion County Case (the “Class Action Claims”) were

 9    awarded a General Judgment in the total amount of $4,864,951 against Debtors on

10    October 31, 2018, which Debtors have appealed. If the Class If the Class Action Claims are

11    denied on appeal, they will receive nothing. If the Class Action Claims are allowed and

12    prevail on appeal, then such Allowed Claims will be paid in full if B. & J. has sufficient

13    funds to do so once the appeals have concluded, or B. & J. will liquidate its assets and pay

14    the Class Action Creditors pro rata from the Net Proceeds of the liquidation. If Class Action

15    Creditors from available funds. B. & J. plans to file an adversary proceeding under 11

16    USC § 547 avoiding the judgment lien obtained by the Class Action Claimants as a

17    bankruptcy preference. If the B. & J. preference claim is successful, the Class Action Claims

18    will be Unsecured Claims even if Allowed. If the preference claim is not successful and the

19    Class Action plaintiffs prevail on the appeal, they would have a Secured Claim against the

20    Real Property up to the value of the Real Property in excess of prior liens. If Class Action

21    Claims are paid in full and entitled to interest, they shall receive interest at the federal

22    judgment rate. To the extent the Allowed Class Action Creditors are not paid in full by

23    B. & J., they shall receive payment from Berman in the amount of their pro rata share of

24    $60,000.

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 1                      5.       Equity Interests

 2              The Plan provides that existing equity interests in B. & J. will be left in place unless

 3    the Company is liquidated, in which case equity will be extinguished.

 4              The Plan provides that Berman will retain his interests in assets of his bankruptcy

 5    estate.

 6                      6.       Leases and Executory Contracts

 7              All unexpired leases and executory contracts will be assumed by the respective

 8    Debtors through the Plan unless such unexpired leases and executory contracts have

 9    previously been assumed and assigned or rejected, or a motion seeking their assumption or

10    rejection has been filed before the Confirmation Date.

11                      7.       Effective Date

12              The Effective Date of the Plan shall be the 11th day following entry of the

13    Confirmation Order.

14                      8.       Cramdown Election

15              In the event any Class does not accept the Plan, Debtors reserve the right to request

16    that the Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the

17    Bankruptcy Code or otherwise modify the Plan.

18              C.      BRIEF EXPLANATION OF CHAPTER 11

19              Chapter 11 is the principal reorganization provision of the Bankruptcy Code.

20    Pursuant to Chapter 11, a debtor attempts to reorganize its business for the benefit of the

21    debtor, its creditors, and other parties-in-interest.

22              The formulation and confirmation of a plan of reorganization is the principal purpose

23    of a Chapter 11 case. A plan of reorganization sets forth the method for compensating the

24    holders of claims and interests in Debtor. If the plan is confirmed by the Bankruptcy Court,

25    it will be binding on Debtors, their creditors, and all other parties-in-interest. A claim or

26    interest is impaired under a plan of reorganization if the plan provides that the legal,
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 1    equitable, or contractual rights of the holder of such claim or interest are altered. A holder of

 2    an impaired claim or interest is entitled to vote to accept or reject the plan. Chapter 11 does

 3    not require all holders of claims and interests to vote in favor of a plan in order for the

 4    Bankruptcy Court to confirm it. However, the Bankruptcy Court must find that the plan

 5    meets a number of statutory tests before it may approve the plan. These tests are designed to

 6    protect the interests of holders of claims or interests who do not vote to accept the plan, but

 7    who will nonetheless be bound by the plan’s provisions if it is confirmed by the Bankruptcy

 8    Court.

 9             An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office

10    in this case pursuant to 11 U.S.C. §§ 1102(a) and (b).

11    II.      VOTING PROCEDURES AND CONFIRMATION OF PLAN

12             A.      BALLOTS AND VOTING DEADLINE

13             A ballot to be used for voting to accept or reject the Plan is enclosed with each copy

14    of this Disclosure Statement. After carefully reviewing this Disclosure Statement and its

15    exhibits, including the Plan, please indicate your acceptance or rejection of the Plan by

16    voting in favor or against the Plan on the enclosed ballot as directed below.

17             The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for

18    the acceptance or rejection of the Plan must be received by Debtors no later than 4:00 p.m.

19    Pacific time on _______, 2019 at the following address:

20                                    Tonkon Torp LLP
                                      Attention: Spencer Fisher
21                                    1600 Pioneer Tower
                                      888 SW Fifth Avenue
22                                    Portland, OR 97204-2099
23    or via facsimile transmission to Spencer Fisher at (503) 972-3867.

24             Holders of each Claim scheduled by Debtors or with respect to which a Proof of

25    Claim has been filed will receive ballots and are permitted to vote based on the amount of the

26    Proof of Claim, except as discussed below. If no Proof of Claim has been filed, then the vote
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 1    will be based on the amount scheduled by Debtors in their Schedules. The Bankruptcy Code

 2    provides that such votes will be counted unless the Claim has been disputed, disallowed,

 3    disqualified, or suspended prior to computation of the vote on the Plan. A Claim to which an

 4    objection has been filed is not allowed to vote unless and until the Bankruptcy Court rules on

 5    the objection. Holders of disputed Claims who have settled their dispute with Debtors are

 6    entitled to vote the settled amount of their Claim. The Bankruptcy Code and rules provide

 7    that the Bankruptcy Court may, if timely requested to do so by the holder of such Claim,

 8    estimate or temporarily allow a disputed Claim for the purposes of voting on the Plan.

 9           If a person holds Claims in more than one Class entitled to vote on the Plan, such

10    person will be entitled to complete and return a ballot for each Class. If you do not receive a

11    ballot or if a ballot is damaged or lost, please contact:

12                                   Tonkon Torp LLP
                                     Attention: Spencer Fisher
13                                   1600 Pioneer Tower
                                     888 SW Fifth Avenue
14                                   Portland, OR 97204-2099
                                     Telephone: (503) 802-2167
15

16           All persons entitled to vote on the Plan may cast their vote for or against the Plan by

17    completing, dating, and signing the enclosed ballot and returning it, by First Class mail or

18    hand delivery, to Debtors at the address indicated above. In order to be counted, all ballots

19    must be executed and received at the above address no later than 4:00 p.m. Pacific time on

20    _______________, 2019. Any ballots received after 4:00 p.m. Pacific time on

21    _______________, 2019 will not be included in any calculation to determine whether the

22    parties entitled to vote on the Plan have voted to accept or reject the Plan.

23           Ballots may also be received by Debtors by facsimile transmission to Tonkon Torp

24    LLP, Attention: Spencer Fisher, at (503) 972-3867. Ballots sent by facsimile transmission

25    will be counted if faxed to Mr. Fisher and received by 4:00 p.m. Pacific time on

26    _______________, 2019.
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 1           When a ballot is signed and returned without further instruction regarding acceptance

 2    or rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When

 3    a ballot is returned indicating acceptance or rejection of the Plan but is unsigned, the

 4    unsigned ballot will not be included in any calculation to determine whether parties entitled

 5    to vote on the Plan have voted to accept or reject the Plan. When a ballot is returned without

 6    indicating the amount of the Claim or an amount different from a timely filed Proof of Claim,

 7    then the amount shall be as set forth on Debtor’s Schedules or any timely Proof of Claim

 8    filed with respect to such Claim or Order of the Bankruptcy Court.

 9           B.      PARTIES ENTITLED TO VOTE

10           Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or

11    Equity Security Holders that is not deemed to reject the Plan is entitled to vote to accept or

12    reject the Plan. Any holder of an Allowed Claim that is in an impaired Class under the Plan,

13    and whose Class is not deemed to reject the Plan, is entitled to vote. A Class is “impaired”

14    unless the legal, equitable, and contractual rights of the holders of Claims in that Class are

15    left unaltered by the Plan or if the Plan reinstates the Claims held by members of such

16    Class by (1i) curing any defaults; (2ii) reinstating the maturity of such Claim;

17    (3iii) compensating the holder of such Claim for damages that result from the reasonable

18    reliance on any contractual provision or law that allows acceleration of such Claim; and

19    (4iv) otherwise leaving unaltered any legal, equitable, or contractual right of which the Claim

20    entitles the holder of such Claim. Because of their favorable treatment, Classes that are not

21    impaired are conclusively presumed to accept the Plan. Accordingly, it is not necessary to

22    solicit votes from the holders of Claims in Classes that are not impaired. Classes of Claims

23    or Interests that will not receive or retain any money or property under a Plan on account of

24    such Claims or Interests are deemed, as a matter of law under Section 1126(g) of the

25    Bankruptcy Code, to have rejected the Plan and are likewise not entitled to vote on the Plan.

26    All Classes of Claims are impaired under Debtors’ Plan.
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 1           C.     VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN

 2           As a condition to confirmation, the Bankruptcy Code requires that each impaired

 3   Class of Claims or Interests accept the Plan, subject to the exceptions described below in the

 4   section entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of

 5   Claims must accept the Plan in order for the Plan to be confirmed.

 6           For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code

 7   requires acceptance by Creditors that hold at least two-thirds in dollar amount and a majority

 8   in number of the Allowed Claims of such Class, in both cases counting only those Claims

 9   actually voting to accept or reject the Plan. The holders of Claims who fail to vote are not

10   counted as either accepting or rejecting the Plan. If the Plan is confirmed, the Plan will be

11   binding with respect to all holders of Claims and Interests in each Class, including Classes

12   and members of Classes that did not vote or that voted to reject the Plan.

13           D.     “CRAMDOWN” OF THE PLAN

14           If the Plan is not accepted by all of the impaired Classes of Claims and Interests of

15   Debtors, the Plan may still be confirmed by the Bankruptcy Court pursuant to

16   Section 1129(b) of the Bankruptcy Code’s “Cramdown” provision if the Plan has been

17   accepted by at least one Impaired Class of Claims, without counting the acceptances of any

18   Insiders of Debtor, and the Bankruptcy Court determines, among other things, that the Plan

19   “does not discriminate unfairly” and is “fair and equitable” with respect to each

20   non-accepting Impaired Class of Claims or Interests. Debtors believe the Plan can be

21   confirmed even if it is not accepted by all impaired Classes of Claims and hereby request the

22   Bankruptcy Court to confirm the Plan in accordance with Section 1129(6) of the Bankruptcy

23   Code or otherwise modify the Plan in the event any Class of Creditors does not accept the

24   Plan.

25

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 1          E.      CONFIRMATION HEARING

 2          The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to

 3   commence on _______________, 2019, at __ a.m. Pacific time. The confirmation hearing

 4   will be held at the U.S. Bankruptcy Court for the District of Oregon, Courtroom _____, 1050

 5   SW Sixth Avenue,, Portland, Oregon, before the Honorable ________________, United

 6   States Bankruptcy Judge. At the hearing, the Bankruptcy Court will consider whether the

 7   Plan satisfies the various requirements of the Bankruptcy Code, including whether it is

 8   feasible and whether it is in the best interests of the Creditors of Debtors. Prior to the

 9   hearing, Debtors will submit a report to the Bankruptcy Court concerning the votes for

10   acceptance or rejection of the Plan by the persons entitled to vote thereon.

11          Section 1128(b) of the Bankruptcy Code provides that any party-in-interest may

12   object to confirmation of the Plan. Any objections to confirmation of the Plan must be made

13   in writing and filed with the Bankruptcy Court and received by counsel for Debtors no later

14   than 4:00 p.m. Pacific time on _______________, 2019. Unless an objection to confirmation

15   is timely filed and received, it will not be considered by the Bankruptcy Court.

16   III.   COMPANY BACKGROUND AND GENERAL INFORMATION

17          A.      DEBTORS

18          B. & J. is an Oregon corporation authorized to transact business in various

19   jurisdictions, including the State of Oregon, and is headquartered in Oregon.

20          B. & J. is the owner of real estate located at 4490 Silverton Road, N.E., Salem,

21   Oregon (“Premises”). On the Petition Date, the Premises were leased to Better Business

22   Management (“BBM”). BBM owned and operated an RV park and self-storage unit business

23   on the Premises entitled Salem RV park and Storage. The Premises consist of a 158-unit

24   RV park and a 243-Unit, 29,750-square-foot (net rentable area) self-storage facility on a

25   9.06-acre parcel. A 6,758-square-foot general purpose building that includes an office,

26   laundry facilities, restrooms with showers, and a recreation room is located on the Premises.
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 1   The building also includes 17 upstairs storage units that have been included in the total count

 2   and rentable area.

 3          Berman is an individual residing in the State of Oregon, and is the President and 50%

 4   shareholder of B. & J.

 5          B.      DEBTORS’ BUSINESS

 6          Prior to the Petition Date, B. & J. historically engaged in the real estate investment

 7   and development business. B. & J. was formed in the early 1990s and developed various

 8   projects, including the real property at 4490 Silverton Road. As part of its business plan to

 9   develop other properties and not operate an RV park, B. & J. entered into a Commercial

10   Lease on or about January 30, 1997, leasing the Premises to BBM, which lease had been

11   subsequently amended and extended at various times up to the Petition Date (collectively, the

12   “BBM Lease”). Under the BBM Lease, BBM owned, operated, and maintained the RV park

13   and self-storage facility and made lease payments to B. & J. When the Marion County

14   Circuit Court entered a General Judgment against B. & J., BBM, and Berman on October 31,

15   2018 (see “Marion County Litigation” below), BBM became insolvent and unable to

16   continue performance and was, therefore, in breach of the Lease. On the Petition Date,

17   B. & J. sought Court authority to reject the BBM Lease and to change its business model to

18   start operating an RV park and self-storage unit business. (See B. & J.’s Motion to Reject

19   Commercial Lease and Authorize Use and Operation of Property as RV park and Self-

20   Storage Facility [ECF No. 7]. The Court granted Debtor’s motion on February 13, 2019

21   [ECF No. 104].1

22          Prior to filing the Bankruptcy Cases, Berman’s principal business was operating

23   B. & J. and BBM, and other real estate-centered entities. Berman intends to continue

24

25   1
      Unless otherwise specified, all references to docket entry numbers refer to B. & J.’s case,
     Bankruptcy Case No. 19-60138-pcm11.
26
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 1   operating B. & J. under its new business model, and also intends to operate the other business

 2   entities in which he has been involved in the past.

 3          C.      MANAGEMENT OF B. & J.

 4          B. & J. is an Oregon corporation owned 50% by William J. Berman and 50% by

 5   Debra Lynn Berman. Mr. Berman is the president of Debtor and Ms. Berman is the

 6   secretary. Together they have over 25 years of real estate development and investment

 7   experience and 26 years of experience in the RV park and storage rental business.

 8   Reorganized B. & J. will consist of the same owners and management as currently exists.

 9   Although B. & J. employs additional employees to maintain and repair its property in the

10   ordinary course, Mr. and Ms. Berman perform much of the maintenance and repairs

11   themselves, in addition to their management duties, saving B. & J. considerable expense and

12   enhancing the value of B. & J.’s property. All B. & J. employees are at-will employees.

13   There are no retiree benefits to be paid by Reorganized Debtor employees.

14          D.      MARION COUNTY LITIGATION

15          On or about April 12, 2013, Loren Hathaway, on behalf of himself and all others

16   similarly situated within the State of Oregon, et. al, commenced a class action case against

17   Debtor, BBM, and Berman in the Circuit Court for the State of Oregon for the County of

18   Marion as Case No. 13C14321 (“Marion County Case”). Plaintiffs in the Marion County

19   Case asserted claims for relief based on the manner in which BBM charged utility services to

20   tenants at the RV park and later for rent retaliation. Plaintiffs obtained an order against

21   BBM, the owner and operator of the Salem RV park, for approximately $4 million dollars for

22   improper utility charges. The court entered a judgment against BBM in spite of the fact that

23   the RV park never made any money on the utility charges. The liability was based on a

24   statutory construction of how kilowatt hours were charged to tenants and for charging a fixed

25   meter fee.

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 1          The fact that the tenants actually paid less for the utility services (at the commercial

 2   rate) than they would have paid had they been charged the full residential utility rate was

 3   deemed immaterial. The court imposed damages equal to two times the tenants’ monthly

 4   rental rate for each month of the tenant’s occupancy. When BBM tried to adjust its rates in a

 5   revenue neutral manner to comport with the court’s ruling, plaintiffs’ demand, and in

 6   accordance with the advice of its counsel, Saalfeld Griggs, BBM was then hit with a

 7   retaliation claim for which it was also found liable in the sum of approximately $1 million.

 8   Once plaintiffs obtained liability against BBM, plaintiffs sought to impose liability on B. & J.

 9   as the owner of the property, and against Berman individually under piercing theories. The

10   state court ruled that Berman and B. & J. were also liable for all of the damages owed by

11   BBM. The court entered a General Judgment against B. & J., BBM, and Berman on

12   October 31, 2018, in the sum of $3,900,501 on the electrical charge claims to the Main

13   Class members, plus $964,450 to the Retaliation Sub-Class members. Plaintiffs have

14   submitted their claim for attorneys’ fees and costs to the Court pursuant to ORCP 68. The

15   Court has issued an opinion granting Plaintiffs’ attorneys’ fees, but further proceedings are

16   necessary to determine the final amount, and for entry of an order and judgment. Defendants

17   BBM, Berman, and B. & J. have filed an appeal of the initial judgment and will appeal the

18   attorney fees award. Debtors expect to prevail, or at least substantially prevail, on appeal.

19          E.      ELECTRICAL BILLING AT THE RV PARK

20          Salem R.V. Park was planned and developed by Eugene Jones (Ms. Berman’s father)

21   and was opened in 1991. During planning and development of the park, Mr. Jones met and

22   coordinated with the various municipalities and utilities. Mr. Jones met with Portland

23   General Electric to design an electric grid for the park’s 124, and later 158, individually-

24   metered sites, and to provide guidance as to an electrical billing system that was legal and

25   equitable. Despite Mr. Jones’ desire to have a residential electrical meter at each and every

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 1   individual site (providing an exact kilowatt usage and billing per site), PGE determined that

 2   only 16 PGE commercial meters would be installed on the property.

 3            This forced the park operator to act as a middleman for electrical billing by making

 4   them the responsible party for determining the gross power consumption of each individual

 5   tenant. In the spirit of fairness, Mr. Jones placed a sub-meter at each of the sites, which

 6   allowed the park to accurately allocate power consumption to the individual sites and ensured

 7   that low power users would not subsidize high power users and that enabled all tenants to

 8   benefit from the much lower commercial rates.

 9            With further guidance from PGE, this system of allocating power to each individual

10   tenant site through a monthly sub-meter reading by the park operator was established and

11   implemented with the understanding that while the park operator could not make a profit on

12   electrical billing, it could charge a basic fee, or meter fee, not to exceed the basic charge

13   billed by PGE. The billing system thus implemented charged a fixed KWH charge

14   (commercial rates constantly fluctuate based on usage) and a meter fee of five dollars (at a

15   time when PGE’s meter fee was seven). This arrangement caused BBM to lose roughly four

16   thousand dollars annually on electrical billing, effectively subsidizing its tenants’ electrical

17   costs.

18            In 1993, Berman began to manage the Park alongside Mr. Jones, with the electric

19   billing systems Mr. Jones developed. When BBM took over park operations, Berman (as an

20   officer of BBM) audited all business practices, including electrical billing, and confirmed

21   that the electrical billing practices, calculations, and allocation of the 16 PGE meters to the

22   individual sites was proper and legal according to the parameters of several governing

23   agencies, including the Public Utility Commission, Oregon Housing and Community

24   Services (aka Oregon MultiFamily), and PGE. BBM, therefore, continued operation of the

25   RV park with the electrical billing practices originally implemented by Mr. Jones.

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 1          Over the follow 20 years, these billing practices were reconfirmed several times to

 2   ensure that laws were being followed, including when all Oregon RV parks came under

 3   landlord-tenant law, and after the Marion County lawsuit was filed. Every audit during these

 4   20-plus years of operation, and all government agencies (the Public Utility Commission,

 5   Oregon Housing and Community Services, and PGE) confirmed that BBM’s electrical billing

 6   system was best practice and legal. To this day, neither BBM nor either of Debtors have ever

 7   made a dollar in profit from this electrical billing arrangement for tenants, a fact not disputed

 8   by plaintiff’s counsel in the Marion County Case, who stated in open court that “we have no

 9   reason to believe Salem RV park has ever made money on utilities.”

10          Despite the fact that only the word “Cost” and never the term “kWh” is used in

11   ORTLA, and most importantly, despite the fact that no tenant has ever paid more than what

12   PGE would have billed them individually, the Marion County Court ruled that because of

13   BBM’s kilowatt hour charging structure, BBM was in violation of the law.

14          On July 29, 2013, under the advice of its legal counsel, Saalfeld Griggs PC, BBM

15   implemented changes to its electrical billing practices in an effort to mitigate damages by

16   complying with the demands of the lawsuit. BBM implemented the following billing

17   changes: (1) the meter fee was removed, (2) the kWh charge was reduced and now varies

18   monthly, and (3) rents were raised $20. These changes resulted in little to no increased gross

19   revenue, but a gross loss on electrical billings of roughly $15,000 annually. Rents were

20   raised to partially offset some of these losses and because rents had not been raised at the

21   RV park for a long time. However, as a result of the changes, plaintiffs amended the

22   complaint and successfully sued the defendants for rent retaliation.

23   IV.    EVENTS LEADING TO THE BANKRUPTCY FILING

24          Debtors’ bankruptcy filings were precipitated by the general judgment entered in the

25   Marion County Case and by the accumulated financial losses related thereto. Debtors have

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 1   insufficient funds with which to pay the judgment and attorney fees for both plaintiffs and

 2   itself. As a result, Debtors filed for Chapter 11 bankruptcy.

 3   V.        SIGNIFICANT POST-PETITION EVENTS

 4             A.     CASH COLLATERAL

 5             Early in the case, B. & J. obtained consent from Columbia Credit Union and court

 6   approval to use cash collateral to pay ongoing Chapter 11 expenses. The Court entered an

 7   Order Authorizing the Use of Cash Collateral and Granting Adequate Protection on

 8   February 6, 2019 [ECF No. 96].

 9             B.     REJECTION OF COMMERCIAL LEASE

10             Upon filing the Chapter 11, B. & J. also obtained court approval to reject the

11   Commercial Lease between B. & J. and BBM, and to authorize B. & J. to operate the

12   property as an RV park and self-storage facility in the ordinary course of its business during

13   this bankruptcy proceeding, as more fully described above (“B. & J.’s Business”). A detailed

14   description of the rejected lease can be found at ECF No. 7 or by contacting counsel for

15   B. & J.

16             Consistent with rent restrictions imposed by an as-then-impending Oregon law, which

17   has now been enacted, B. & J. instituted a rent structure that would start to bring rental rates

18   in line with current market rents while at the same time not increasing rents too much from

19   the prior owner. B. & J. is also investing to make improvements and repairs to create a

20   desirable park and storage operation. After court approval, B. & J. hired employees and

21   commenced operations as the RV park and self-storage business entitled Salem Estates RV

22   Park and Salem Estates Storage.

23             C.     RELIEF FROM STAY

24             On or about May 15, 2019, B. & J. and Plaintiffs’ Class Action counsel entered into a

25   Stipulated Order Granting Limited Relief From Stay [ECF No. 166] (“Relief From Stay

26   Order”) whereby the parties agreed, and the Court ordered, that the state court proceeding
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 1   could continue to its completion at the trial level, and then continue on to resolve any and all

 2   subsequent appeals; provided, however, that any further rulings would not constitute a lien

 3   on any of the B. & J. property or assets, and any payment of any amounts ultimately ruled to

 4   be due and owing would be governed by the Plan of Reorganization.

 5          On or about June 21, 2019, Berman and Plaintiffs’ Class Action counsel entered into

 6   a Stipulated Order Granting Limited Relief From Stay [ECF No. 70 (Berman Case)]2

 7   (“Berman Relief From Stay Order”) whereby the parties agreed and the Court ordered that

 8   the state court proceeding could continue to its completion at the trial level, and then

 9   continue on to resolve any and all subsequent appeals; provided, however, that any further

10   rulings would not constitute a lien on any of Berman’s property or assets, and any payment

11   of any amounts ultimately ruled to be due and owing would be governed by the Plan of

12   Reorganization. Additionally, the parties agreed that the Class Action Plaintiffs’ judgment

13   lien would be promptly avoided pursuant to 11 U.S.C. § 547.

14          D.      EMPLOYMENT OF PROFESSIONALS

15          B. & J. has retained Tonkon Torp LLP as its general counsel in this case. B. & J. also

16   sought and obtained Bankruptcy Court approval for the employment of (a) Saalfeld Griggs

17   PC as its special purpose counsel, and (b) Fischer, Hayes, Joye & Allen LLC as its

18   accountants. B. & J. and Berman also expects to seek obtained an order authorizing the

19   employment of Janet M. Schroer as special purpose counsel to represent them as appellate

20   counsel forin the Class Action Case once such counsel is identified and retained.

21   Ms. Schroer will be paid by the Oregon State Bar Professional Liability Fund as repair

22   counsel based on the malpractice claim asserted against Saalfeld Griggs by Debtors.

23          Berman has retained Motschenbacher & Blattner LLP as its general counsel in the

24   Berman Bankruptcy Case, and as appellate counsel in the Class Action Case. Berman also

25   2
      Reference to documents in the “Berman Case” refer to docket entries in Bankruptcy Case
     No. 19-60230-pcm11.
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 1   sought and obtained Bankruptcy Court approval for the employment of Fischer, Hayes,

 2   Joye & Allen LLC as his accountant. Berman may seek authority to employ alternate

 3   appellate counsel for the Class Action Case if appropriate.

 4   VI.    ASSETS AND LIABILITIES

 5          A.      ASSETS

 6                  1.       B. & J.’s Real Property

 7          As described above, B. & J.’s principal asset is the Real Property containing the 158-

 8   unit RV park and 243-unit self-storage facility on a 9.06-acre parcel both located at 4490

 9   Silverton Road, N.E., Salem, Oregon. Debtors estimate that the value of the Real Property

10   was approximately $5,000,000 as of the B. & J. Petition Date.

11          As of the Petition Date, B. & J. held bare legal title to the Property and the RV Park

12   and Storage business was operated by Better Business Management (“BBM”). BBM was in

13   default under the lease with B. & J. and was insolvent as a result of the Class Action

14   judgment entered against it. Thus, as of the Petition Date, B. & J. owned Property with an

15   insolvent tenant that was in default. Such circumstances depressed the value of the Property.

16   In addition, the Property had been underperforming given that BBM had been charging

17   under-market rates. Further, the Property had significant amounts of deferred maintenance,

18   which further depressed its value. Although a prior appraisal had valued the Property at one

19   point at approximately $6 million, B. & J.’s owner believes that appraisal was too high and

20   given the present state of the Property as of the Petition Date, a $5 million valuation was

21   more accurate. In any event, the Property value is expected to increase under the Plan since

22   B. & J. has taken possession of the Property and is now running an RV Park and Storage

23   business that it expects will be able to generate sufficient revenue to make the needed repairs

24   and improvements to increase the Property value during the life of the Plan. Moreover, if

25   B. & J. is not able to generate sufficient funds to pay all Allowed Claims in full, then the

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 1   Property will be liquidated. Upon liquidation, the value will be determined by the

 2   marketplace.

 3                  2.       Berman’s Real Property

 4          Berman co-owns, with his wife, real property and a single family home in Salem,

 5   Oregon. Legal title to the home is held by the Berman Living Trust Dated October 21, 1997.

 6   Berman estimates that the total value of the residence was approximately $568,060 as of the

 7   Berman Petition Date. Therefore, Berman estimates that the value of his 50% interest in the

 8   residence was approximately $284,030 as of the Berman Petition Date.

 9                  3.       Personal Property

10          As of the Petition Date, B. & J.’s hard assets consisted of a 2017 Chevy suburban and

11   a 2001 New Holland tractor, as well as some miscellaneous office furniture and equipment

12   with little market value. B. & J. had cash accounts as of the Petition Date in the total amount

13   of $114,209.26, and also had a receivable from Berman in the amount of $61,000. This

14   original amount was reduced prepetition by $29,730, when B. & J. acquired Mr. and

15   Ms. Berman’s debt and collateral rights against BBM and its assets. After the Court order

16   rejecting B. & J.’s lease with BBM, B. & J. acquired the personal property of BBM in

17   satisfaction of that lien. The value of this additional property acquired postpetition is

18   $29,730.

19          B. & J. has a receivable from William Lloyd Developments, Inc. in the total face

20   amount of $1,837,322, of which $937,322 is a doubtful or uncollectable amount. This

21   receivable is further subject to reduction based on a debt of $350,164 owed by B. & J. to

22   William Lloyd Developments, Inc. A list of all of B. & J.’s assets can be found at

23   Schedule A/B [ECF No. 89]. The collection of the full amount of the receivable from

24   William Lloyd is doubtful since in the past 11 years William Lloyd has sold only one

25   undeveloped lot. If payment were demanded immediately, the William Lloyd assets would

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 1   need to be sold at depressed values resulting in a lower liquidation value and less funds to

 2   pay B. & J.

 3           As of the Berman Petition Date, Berman’s hard assets consisted of miscellaneous

 4   household goods and furnishings Berman co-owns with his wife. Berman also had checking

 5   accounts worth $35,937.53, and individual retirement accounts that Berman has claimed as

 6   fully exempt. Berman also owns stock or membership interests in the following entities:

 7   (a) 50% of the outstanding stock of B. & J., (b) 50% of the outstanding stock of BBM,

 8   (c) 28% of the outstanding stock of William Lloyd Investments, Inc., and (d) 20% of the

 9   outstanding membership interest in B. & J. Investments LLC. Berman is also owed

10   $107,690.33, including interest, in relation to a loan that he and his wife made to William

11   Lloyd Investments, Inc. A list of Berman’s assets can be found in Berman’s Amended

12   Schedule A/B [ECF No. 44 (Berman Case)].

13           B. & J. is also owed reimbursement from BBM for legal fees ($302,603.25 paid and

14   $293,354 unpaid) incurred in the Marion County Case and owed under an indemnity clause

15   in BBM’s Lease with B. & J. — B. & J. does not expect to collect this amount as BBM is

16   now out of business and has no assets.

17           Debtors also have potential malpractice claims against Saalfeld Griggs LLP for legal

18   advice that resulted in the Class Action retaliation liability claim of $964,450, plus attorney

19   fees to be awarded, and legal advice that resulted in disregard of corporate status that resulted

20   in the class action judgment liability of $4,864,951 (which includes the retaliation liability

21   claim of $964,450), plus attorney fees to be awarded. Debtors have made demand on

22   Saalfeld Griggs for these claims and isare negotiating a tolling agreement. Debtors dispute

23   their liability to the Class Action Creditors but if such liability is upheld on appeal, Debtors

24   believe they have valid claims against Saalfeld Griggs since Debtors relied upon and

25   followed Saalfeld Grigg’sGriggs’ advice in conducting its business in the manner in which

26   the state court found to result in the retaliation liability and the successor liability of both
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 1   Debtors. Debtors intend to file an objection to Saalfeld Griggs’ prepetition Claim and, as a

 2   result, expect that no payments will be made on that Claim pending the conclusion of the

 3   Class Action appeals and resolution of any malpractice claims against Saafeld Griggs.

 4          Berman may also have a claim against his minor grandchildren, for gifts made to

 5   those minors’ college savings funds. Berman and his wife jointly contributed $21,740.57,

 6   half of which was from Berman. As a result, Berman’s potential claim equals $10,870.29,

 7   which has been included in Berman’s liquidation analysis attached as Exhibit 3.

 8          B.      LIABILITIES

 9                  1.       Columbia Credit Union

10          According to the proof of claim filed by Columbia Credit Union, the amount of debt

11   owing to Columbia Credit Union as of the Petition Date is $2,225,037.38 in principal, plus

12   accrued interest in the amount of $918.05, and $3,412.50 in prepetition attorney fees and

13   costs. To secure its obligations, on September 11, 2015, B. & J. granted Columbia Credit

14   Union a security interest in the Real Property located at 4490 Silverton Road NE, Salem,

15   Oregon. Additionally, Berman executed and delivered a personal guaranty. A copy of

16   Columbia Credit Union’s Deed of Trust and the Berman Guaranty are attached to its Proof of

17   Claim [Claim 3 (B. &. J. Case)].

18                  2.       Marion County Case Claim

19          A General Judgment was entered against Debtor, BBM, and Mr. Berman on

20   October 31, 2018, in the sum of $3,900,501 on the electrical charge claims to the Main

21   Class members, plus $964,450 to the Retaliation Sub-Class members. In addition, plaintiffs

22   have requested attorney fees of $1,100,000 and costs of $52,378.39. Debtors expect they

23   will prevail in the appeal of the Marion County Case, and that as a result all creditors except

24   the Class Action Claim plaintiffs will be paid in full. If Debtors do not prevail in the appeal

25   of the Marion County Case, B. & J. may be forced towill pursue the malpractice claims

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 1   against Saalfeld Griggs and if sufficient recovery is not made therefrom, will then liquidate

 2   its assets.

 3                  3.       Unsecured and Class Action Creditors

 4           The total amount of Unsecured Claims scheduled by B. & J. or filed by Creditors

 5   against B. & J. is approximately $751,182.49 (excluding claims filed by the Class Action

 6   Creditors which were listed as disputed). The total filed claims against B. & J. is

 7   approximately $7,845,738.24. including the Class Action Claims. This amount excludes any

 8   duplication for scheduled and filed claims and does not include anticipated costs and attorney

 9   fees to be awarded to the Class Action Plaintiffs in the Class Action Case.

10           The total amount of Unsecured Claims scheduled by Berman or filed by Creditors

11   against Berman is approximately $355,785.49 (excluding the Columbia Guaranty Claim,

12   which is to be paid by B. & J., and claims filed by the Class Action Creditors which were

13   listed as disputed). The total amount of filed claims against Berman is approximately

14   $7,763,541.53. This amount excludes any duplication for scheduled and filed claims.

15   VII.    DESCRIPTION OF PLAN

16           A.     BRIEF EXPLANATION OF CHAPTER 11

17           Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.

18   Under Chapter 11, a debtor is authorized to reorganize its business for the benefit of itself, its

19   creditors, and its equity holders. Confirmation of a plan of reorganization is the principal

20   objective of a Chapter 11 reorganization case. A plan of reorganization sets forth the means

21   for satisfying claims against, and interests in, a debtor. Confirmation of a plan of

22   reorganization by a bankruptcy court makes the plan binding upon the debtor, any issuer of

23   securities under the plan, any person acquiring property under the plan, and any creditor and

24   any equity holder of the debtor. Subject to certain limited exceptions provided by the

25   Bankruptcy Code, and except as specifically provided in the Plan of Reorganization, the

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 1   confirmation order discharges debtor from any debt that arose prior to the date of such

 2   confirmation and order and substitutes therefore the obligations specified in the plan.

 3
             B.      SOLICITATION, CLASSIFICATION, AND TREATMENT OF
 4                   CLAIMS AND EQUITY SECURITIES

 5                   1.       General

 6           Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization

 7   must designate classes of Claims and classes of Interests. The Plan classifies all Claims and

 8   Interests into four classes. The classification of Claims and Interests is made for the purpose

 9   of voting on the Plan and making distributions thereunder, and for ease of administration of

10   the Plan. A Claim or Interest is classified in a particular Class only to the extent the Claim or

11   Interest qualifies within the description of that Class, and is classified in a different Class to

12   the extent the Claim or Interest qualifies within the description of such different Class. A

13   Claim or Interest is entitled to vote in a particular Class and to receive distributions in such

14   Class only to the extent such Claim or Interest is an Allowed Claim or Allowed Interest in

15   that Class and has not been paid prior to the Effective Date. Under the Plan, a Claim or

16   Interest is an Allowed Claim against, or an Allowed Interest in, Debtor to the extent that (a) a

17   proof of the Claim or Interest was (1) timely filed, or (2) deemed filed under applicable law

18   by reason of an order of the Bankruptcy Court; or (b) scheduled by Debtor on its Schedules

19   of Liabilities as neither contingent, unliquidated, or disputed; and (c) (i) no party-in-interest

20   has filed an objection within the time fixed by the Bankruptcy Court, (ii) the Claim or

21   Interest is allowed by Final Order; or (iii) with respect to an application for compensation or

22   reimbursement of an Administrative Expense Claim, the amount of the Administrative

23   Expense Claim has been approved by the Bankruptcy Court.

24                   2.       Unclassified Claims

25           Administrative Expense Claims and Priority Tax Claims are not classified. An

26   Administrative Expense Claim is a Claim against Debtors constituting an expense of
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 1   administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code

 2   including, without limitation, the actual and necessary costs and expenses of preserving the

 3   estate and operating Debtors’ business during the Bankruptcy Case; claims for the value of

 4   goods received by Debtors within 20 days before the Petition Date sold in the ordinary

 5   course of business; any indebtedness or obligations incurred by Debtors during the pendency

 6   of the Bankruptcy Case in connection with the provision of goods or services to Debtors;

 7   compensation for legal and other professional services and reimbursement of expenses; and

 8   statutory fees payable to the U.S. Trustee.

 9           A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to

10   priority under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled

11   to priority but for the Secured status of the Claim. Each holder of an Allowed Priority Tax

12   Claim shall be paid by Reorganized Debtors within 30 days following the Effective Date or

13   the date the Claim is Allowed, whichever is sooner, the full amount of its Allowed Priority

14   Tax Claim as allowed by 11 U.S.C. § 1129(a)(9)(C) and (D). The IRS has filed a Priority

15   Tax Claim against B. & J. in the amount of $336.82, and against Berman in the amount of

16   $100.

17           Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid

18   in full on the later of the Effective Date or the date on which any such Administrative

19   Expense Claim becomes an Allowed Claim unless such holder shall agree to a different

20   treatment of such Claim (including, without limitation, any different treatment that may be

21   provided for in any documentation, statute, or regulation governing such Claim). However,

22   the Administrative Expense Claims representing liabilities incurred in the ordinary course of

23   business (including amounts owed to vendors and suppliers that have sold goods or furnished

24   services to Debtors after the Petition Date), if any, will be paid in accordance with the terms

25   and conditions of the particular transactions and any other agreements relating thereto.

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 1   Debtor will include the estimated amount of such expenses in the Report of Administrative

 2   Expense Claims to be filed prior to the hearing on confirmation.

 3                  3.       Classified Claims

 4          The following summary of distributions under the Plan to Classified Claims does not

 5   purport to be complete and is subject to, and is qualified in its entirety by reference to, the

 6   Plan included herewith.

 7                           (a)    Class 1 (Columbia Credit Union’s Secured Claim Against

 8   B. & J.). Columbia Credit Union (“Columbia”) has a first-position security interest in

 9   B. & J.’s real property located at 4490 Silverton Road NE, Salem, Oregon, to secure its

10   Allowed Secured Claim. Columbia will retain its interest in its Collateral with the same

11   priority that it had on the Petition Date. Columbia will be paid the full amount of its Allowed

12   Secured Claim in accordance with the existing terms of its loan to Debtor except for the

13   changes to terms and covenants as detailed in the Plan. The payments to Columbia from

14   B. & J. will be approximately $14,080 per month.

15                           (b)    Class 2 (Columbia’s Unsecured Guaranty Claim Against

16   Berman). Columbia has an unsecured claim against Berman pursuant to his personal

17   guaranty of B. & J.’s debt to Columbia. Berman will remain liable to Columbia under the

18   personal guaranty in accordance with the existing terms of Columbia’s loan to B. & J. except

19   for the changes to terms and covenants as detailed in the Plan.

20                           (c)    Class 3 (Quicken Loans’ Secured Claim Against Berman).

21   Quicken Loans, Inc. (“Quicken Loans”) has a first-position security interest in Berman’s

22   personal residence in Salem, Oregon, to secure its Allowed Secured Claim. The Class 3

23   claim is unimpaired and not entitled to vote on the Plan. Quicken Loans will be paid the full

24   amount of its Allowed Secured Claim in accordance with the existing terms of its loan to

25   Berman.

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 1                          (d)      Class 4 (General Unsecured Claims Against B. & J.). Each

 2   GeneralClass 4 Unsecured Claim against B. &. J. will be paid in full, together with interest at

 3   the federal judgment rate in effect on the Effective Date, from and after the Effective Date, as

 4   follows: (i) commencing on the first day of the first full month following the Effective Date,

 5   General Unsecured Creditors will be paid monthly payments of interest only, at the federal

 6   judgment rate, for 12 24 months; and (ii) commencing on the first day of the 13th25th month

 7   following the Effective Date, General Unsecured Creditors will be paid the full balance of

 8   their claims in equal amortizing monthly payments, including principal and interest at the

 9   federal judgment rate, for the next 36 months months; provided, however, that if the appeal

10   of the Class Action Case is not successful and funds are due and owing to the Class 6

11   Claimants under a Final Order, then payments made to Class 4 Claims up to that point will be

12   recharacterized as payments of principal only and Class 4 Claims shall share pro rata in the

13   liquidation of assets described in Class 6 below on a pari passu basis with Class 6 Unsecured

14   Claims, with no further payments being made to Class 4 Claims until such time as payments

15   to Class 6 Unsecured Claims have caught up and are on par with the percentage previously

16   received by Class 4 Claims.

17                          (e)    Class 5 (General Unsecured Claims Against Berman). Each

18   General Unsecured Claim against Berman will be paid first from B. & J. under Class 4, and

19   any balance remaining shall be paid its pro rata share of funds held in the “Berman

20   Unsecured Claims Fund,” which shall be created and funded by Berman from his earnings

21   after the Effective Date. The amount to be paid by Berman into the Berman Unsecured

22   Claims Fund is $1,000 per month for five years, or until $60,000 has been deposited by

23   Berman, or such other amount as is required by the Bankruptcy Court. The Class 5 creditors’

24   pro rata share of the Berman Unsecured Claims Fund shall be calculated from the total

25   amount of Class 5 and Class 7 claims.

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 1                         (f)     Class 6 (Class Action Claims Against B. & J.). Each holder of

 2   an Allowed Claim as a result of a Final Order entered in the Class Action Litigation and

 3   appeals will be paid the full amount ultimately awarded by the Court, if any, if B & J. has

 4   sufficient assets to make such payments and, if not, from the pro rata Net Proceeds from the

 5   closing down/liquidation and sale of B. & J.’s business and assets., as follows:

 6                  Upon entry of a Final Order on the Class Action Claims, Reorganized B. & J.

 7                  will pay Allowed Class Action Claims, whether Secured or Unsecured, within

 8                  12 months after any order entered in the Class Action Case becomes a Final

 9                  Order. To the Extent Reorganized B. & J. does not have sufficient funds to

10                  pay the Allowed Class 6 Claims from available cash, then Reorganized

11                  B. & J. shall first seek to pursue the malpractice claims against Saalfeld

12                  Griggs in order to recover the full amounts owing to the Class Action Claims.

13                  If recovery against Saalfeld Griggs is not successful, then Reorganized B. & J.

14                  will seek to refinance the Real Property to generate Net Proceeds in a

15                  sufficient amount to pay the Allowed Class 6 Claims. If Reorganized B. & J.

16                  is unable to refinance the Real Property, then Reorganized B. & J. shall

17                  proceed to sell the Real Property and liquidate all its remaining assets, with

18                  the Net Proceeds from the Real Property to be paid first in full satisfaction of

19                  the Allowed Class 6 Secured Claims and thereafter to the Allowed Class 4 and

20                  Class 6 Unsecured Claims. If the Net Proceeds are insufficient to pay

21                  Allowed Unsecured Claims in full, then each Unsecured Claimant shall be

22                  paid its pro rata share of the amount owed to all Allowed Class 4 and 6

23                  Unsecured Claims. Proceeds from the malpractice claims against Saalfeld

24                  Griggs, Net Proceeds of the refinancing, or Net Proceeds from the sale of the

25                  Real Property and liquidation of assets shall first be paid to the Class 6

26                  Unsecured Claims until such payments equal the same percentage that Class 4
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 1                  Claims have received to date, and thereafter Class 4 and Class 6 Unsecured

 2                  Claims shall be paid from available funds on a pro rata basis.

 3                          (g)     Class 7 (Class Action Claims Against Berman). Each holder of

 4   an Allowed Claim as a result of a Final Order entered in the Class Action Litigation and

 5   appeals will first be paid the full amount ultimately awarded by the Court, if any, if B & J.

 6   has sufficient assets to make such payments and, if not, from the pro rata proceeds from the

 7   closing down/liquidation and sale of B. & J.’s business and assets. Any Class 7 Claims that

 8   remain after payment is made by B. & J. shall be paid a pro rata share of the Berman

 9   Unsecured Claims Fund described above. The Class 7 creditors’ pro rata share of the

10   Berman Unsecured Claims Fund shall be calculated from the total amount of Class 5 and

11   Class 7 claims.

12                          (h)     Class 8 (Interests in B. & J.). The Plan provides that holders of

13   Class 8 Interests will retain their interest in Reorganized B. & J., except in the event there are

14   insufficient funds to pay Creditors, in which case the interest will be of no value.

15                          (i)     Class 9 (Berman’s Interest in Estate). The Plan provides that

16   Berman shall retain his interest in the property of his bankruptcy estate.

17          C.      ADMINISTRATIVE EXPENSES

18          B. & J. has retained the following professionals: (1) Tonkon Torp LLP as its general

19   counsel in this case, (2) Saalfeld Griggs PC as its special purpose counsel, and (3) Fischer,

20   Hayes, Joye & Allen LLC as its accountants. The total amount of Administrative Expense

21   Claims is uncertain at this time. It is anticipated that some professionals may agree to defer

22   payment of their Administrative Claim, if necessary. A statement of professional fees

23   incurred in this case will be filed with the Court prior to the confirmation hearing.

24          Berman has retained the following professionals: (1) Motschenbacher & Blattner

25   LLP as his general bankruptcy counsel in this case, and as appellate counsel in the

26   Class Action, and (2) Fischer, Hayes, Joye & Allen LLC as his accountants. The total
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 1   amount of Administrative Expense Claims is uncertain at this time. It is anticipated that

 2   some professionals may agree to defer payment of their Administrative Claim, if necessary.

 3   A statement of professional fees incurred in this case will be filed with the Court prior to the

 4   confirmation hearing.

 5          D.      EXECUTORY CONTRACTS

 6          The Bankruptcy Code gives Debtors the right, after commencement of their

 7   Chapter 11 Cases, subject to approval of the Bankruptcy Court, to assume or reject executory

 8   contracts and unexpired leases. Generally, an “executory contract” is a contract under which

 9   material performance (other than the payment of money) is still due by each party. The Plan

10   provides for the assumption by debtors of all executory contracts and unexpired leases that

11   are not expressly rejected or subject to a motion for rejection filed on or before the

12   Confirmation Date.

13          If an executory contract or unexpired lease is or has been rejected, the other party to

14   the agreement may file a Proof of Claim for damages resulting from such rejection. The Plan

15   provides that a Proof of Claim with respect to any such Claim must be filed within 30 days of

16   approval of the Bankruptcy Court of the rejection of the relevant executory contract or

17   unexpired lease. Any such Claim shall constitute a Class 2 Claim to the extent such Claim is

18   finally treated as an Allowed Claim. To the extent a debtor rejects an unexpired lease of

19   nonresidential real property, the Claim for damages resulting from such rejection will be

20   limited to the amount allowed under the Bankruptcy Code.

21          Upon assumption of an executory contract or unexpired lease, debtors must cure or

22   provide adequate assurance of prompt cure of any monetary defaults. The Plan provides that

23   Reorganized Debtors will promptly cure all monetary defaults.

24

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 1          E.      EFFECT OF CONFIRMATION

 2                  1.       Binding Effect

 3          The treatment of, and consideration received by, holders of Allowed Claims and

 4   Interests pursuant to the Plan will be in full satisfaction of their respective Claims against or

 5   Interests in Debtors. The Confirmation Order shall bind Debtors and any Creditor, and

 6   discharge Debtors from any liability that arose before the Effective Date as provided in

 7   Sections 524 and 1141 of the Bankruptcy Code, and any debt and liability of a kind specified

 8   in Sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, whether or not (a) a proof of

 9   claim based on such Creditor’s debt or liability is Filed or deemed Filed under Section 501 of

10   the Bankruptcy Code, (b) a Claim based on such debt or liability is Allowed, or (c) the holder

11   of the Claim based on such debt or liability has accepted the Plan.

12                  2.       Revesting, Operation of Business

13          All property of the bankruptcy estates shall revest in each respective Reorganized

14   Debtor on the Effective Date free and clear of all rights, claims, liens, charges,

15   encumbrances, and interests, except as otherwise specifically provided in the Plan. Except as

16   otherwise set forth in the Plan, there are no limitations or restrictions on the post-

17   confirmation activities or operations of Debtors.

18                  3.       Injunction

19          The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy

20   Code. Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in

21   the Confirmation Order, confirmation of the Plan shall act as a permanent injunction

22   applicable to entities against (a) the commencement or continuation, including the issuance

23   or employment of process, of a judicial, administrative, or other action or proceeding of any

24   kind against Debtors or Reorganized Debtors that was or could have been commenced before

25   entry of the Confirmation Order; (b) the enforcement, attachment, collection, or recovery

26   against Reorganized Debtors or their assets of any judgment, award, decree, or order
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 1   obtained before the Petition Date; (c) any act to obtain possession of or to exercise control

 2   over, or to create, perfect, or enforce a lien upon all or any part of the assets of Reorganized

 3   Debtors; (d) asserting any setoff or right of subrogation or recoupment of any kind against

 4   any obligation due to Debtors, Reorganized Debtors, or their property; and (e) proceeding in

 5   any manner in any place whatsoever that does not conform to, does not comply with, or is

 6   inconsistent with the provisions of the Plan or the Confirmation Order. Neither the

 7   injunction nor any provision of the Plan prohibits or otherwise overrides the Stipulated Relief

 8   From Stay Order which allows the Marion County Case to proceed to completion in state

 9   court, including all appeals.

10                  4.       Event of Default

11          Any material failure by Reorganized Debtors to perform any term of the Plan, which

12   failure continues for a period of 15 Business Days following receipt by Reorganized Debtors

13   of written notice of such default from the holder of an Allowed Claim to whom performance

14   is due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the

15   holder of an Allowed Claim to whom performance is due shall have all rights and remedies

16   granted by law, the Plan, or any agreement between the holder of such Claim and Debtors or

17   Reorganized Debtors. An Event of Default with respect to one Claim shall not be an Event

18   of Default with respect to any other Claim.

19                  5.       Modification of Plan; Revocation or Withdrawal of Plan

20          Subject to Section 1127 of the Bankruptcy Code, Debtors reserve the right to alter,

21   amend, modify, or withdraw the Plan before its substantial consummation so long as the

22   treatment of holders of Claims and Equity Security Holders under the Plan are not adversely

23   affected.

24

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 1                   6.       Retention of Jurisdiction

 2           Notwithstanding entry of the Confirmation Order, the Court shall retain jurisdiction

 3   of this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

 4   Bankruptcy Code and:

 5                            (a)    to classify the Claim or interest of any Creditor or stockholder,

 6   reexamine Claims or Interests which have been owed for voting purposes, and determine any

 7   objections that may be Filed to Claims or Interests;

 8                            (b)    to determine requests for payment of Claims entitled to priority

 9   under Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement

10   of expenses in favor of professionals employed at the expense of the Estates;

11                            (c)    to avoid liens, transfers, or obligations, or to subordinate

12   Claims under Chapter 5 of the Bankruptcy Code;

13                            (d)    to approve the assumption, assignment, or rejection of an

14   executory contract or an unexpired lease pursuant to this Plan;

15                            (e)    to resolve controversies and disputes regarding the

16   interpretation of this Plan;

17                            (f)    to implement the provisions of this Plan and enter orders in aid

18   of confirmation;

19                            (g)    to adjudicate adversary proceedings and contested matters

20   pending or hereafter commenced in this Chapter 11 Case; and

21                            (h)    to enter a final decree closing this Chapter 11 proceeding.

22                   7.       United States Trustee Fees

23           ReorganizedFees payable by Debtors shall be responsible for timely paymentunder

24   28 U.S.C. § 1930, or to the Clerk of the Bankruptcy Court, will be paid in full in Cash on the

25   Effective Date. All quarterly fees incurred due to the United States Trustee pursuant to

26   28 U.S.C. § 1930(a)(6) USC § 1930(a), including fees due for any partial quarter, accruing
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 1   after the Effective Date shall be paid by the Reorganized Debtors as and when they become

 2   due and will be based on the Reorganized Debtors’ total disbursements, including ordinary

 3   course of business disbursements as well as disbursements made to Claimants under this

 4   Plan. Such fee obligations will not terminate until thethis Case is closed, converted, or

 5   dismissed. , or until this Case is no longer pending upon entry of a Final Order closing this

 6   Case, whichever first occurs, and all United States Trustee fees, including any such fees

 7   accrued in any partial quarter, shall be paid as a condition precedent prior to entry of an order

 8   closing the case. After the Effective Date, the Reorganized Debtors shall file with the Court

 9   a post-confirmation, Reorganized Debtors shall serve on the United States Trustee a monthly

10   financial report for each quartermonth, or portion thereof, that the case remainsis open. or

11   during any period of time that the case is reopened. The quarterlymonthly financial report

12   shall include a statement of all disbursements made during the course of the quartermonth,

13   whether or not pursuant to the Plan. All United States Trustee fees, including any such fees

14   accrued in any partial quarter, shall also be paid as a condition precedent prior to entry of a

15   Final Decree.

16   VIII. LIQUIDATION ANALYSIS

17          A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that

18   the Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security

19   in, Debtors subject to such plan. The best interest test is satisfied if a plan provides each

20   dissenting or non-voting member of each impaired Class with a recovery not less than the

21   recovery such member would receive if each Debtor was liquidated in a hypothetical case

22   under Chapter 7 of the Bankruptcy Code by a Chapter 7 Trustee. Debtors believe the holders

23   of impaired Claims will not receive less than they would receive under a Chapter 7

24   liquidation. In applying the “best interest” test, the Bankruptcy Court would ascertain the

25   hypothetical recovery in a Chapter 7 proceeding to Secured Creditors, priority claimants,

26   General Unsecured Creditors, and Equity Interest Holders. The hypothetical Chapter 7
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 1   recoveries would then be compared with the distribution offered to each Class of Claims or

 2   Equity Security Holders under the Plan to determine that the Plan satisfied the “best interest”

 3   test set forth in the Bankruptcy Code.

 4          A Chapter 7 liquidation of B. & J.’s case would result in the immediate cessation of

 5   B. & J.’s operations. Substantially all assets would be liquidated and distributed to the

 6   Secured Creditors, with Columbia Credit Union likely realizing its full $2,225,037 secured

 7   claim amount plus default interest, costs, and fees, and the remaining General Unsecured,

 8   Litigation, and Equity Classes realizing less than the amount proposed under the Plan.

 9          A Chapter 7 liquidation of Berman’s case would result in the immediate cessation of

10   Berman’s primary source of income. Berman’s non-exempt assets would be liquidated and

11   approximately $43,703.33 would be available for distribution to all creditors, including

12   Columbia’s $2,225,037 claim on Berman’s personal guaranty. Calculations for a

13   hypothetical Berman liquidation are set forth on the Liquidation Analysis attached hereto as

14   Exhibit 3. The amount available in a Berman liquidation is less than the Berman Unsecured

15   Claims Fund, and thus General Unsecured, Class Action, and Equity Classes would receive

16   less in a Chapter 7 than the amount proposed under the Plan.

17   IX.    POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

18          CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE

19   PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR

20   OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

21          The following discussion summarizes in general terms certain federal income tax

22   consequences of implementation of the Plan based upon existing provisions of the Internal

23   Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and

24   current administrative rulings and practice. This summary does not address the federal

25   income tax consequences of the Plan to holders of priority or secured claims, nor does it

26   address any state, local, or foreign tax matters, or the federal income tax consequences to
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 1   certain types of creditors (including financial institutions, life insurance companies, tax

 2   exempt organizations, and foreign taxpayers) to which special rules may apply. No rulings

 3   or opinions have been or will be requested from the Internal Revenue Service with respect to

 4   any of the tax aspects of the Plan.

 5          THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE

 6   PLAN TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are

 7   likely to be encountered by creditors because of the difference in the nature of their Claims,

 8   taxpayer status, method of accounting, and the impact of prior actions they may have taken

 9   with respect to their Claims.

10          The following are the anticipated tax consequences of the Plan.

11          A.      TAX CONSEQUENCES TO DEBTORS

12          Debtors do not anticipate any extraordinary or unusual tax consequences because all

13   claims are expected to be paid in full. Debtors will experience ordinary income from

14   continued operations and earnings, and will be entitled to deduct business expenses for any

15   business related and interest expenses. Debtors do not anticipate any cancellation of debt

16   income. In the event B. & J. sells its real property, B. & J. shall pay any applicable capital

17   gains taxes that result from the sale.

18          B.      GENERAL TAX CONSEQUENCES ON CREDITORS

19          Creditors will likely not experience any unusual or extraordinary tax consequence

20   following Confirmation of the Plan. Payments will be treated in the same manner as they

21   were treated before Confirmation of the Plan. As discussed above, the effect of the Plan on

22   specific creditors will depend on specific financial information relative to such creditor and

23   that is unknown to Debtors. As a result, the tax implications to specific creditors cannot be

24   completely described herein.

25          EACH HOLDER IS URGED TO CONSULT SUCH HOLDER’S OWN TAX

26   ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO SUCH HOLDER UNDER
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 1   FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN TAX LAWS.

 2   DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE TAX

 3   CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY CLAIMANT.

 4   X.     ACCEPTANCE AND CONFIRMATION OF THE PLAN

 5          A.      CONFIRMATION HEARING

 6          The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on

 7   _______________, 2019 at ____.m Pacific time. The hearing will be held at the

 8   U.S. Bankruptcy Court for the District of Oregon, 1050 SW Sixth Avenue, #700, Portland,

 9   Oregon in Courtroom No. _____, before the Honorable ________________, United States

10   Bankruptcy Judge. At that hearing, the Bankruptcy Court will consider whether the Plan

11   satisfies the various requirements of the Bankruptcy Code, including whether it is feasible

12   and whether it is in the best interest of Creditors and Equity Security Holders of Debtors.

13   Debtors will submit a report to the Bankruptcy Court prior to the hearing concerning the

14   votes for acceptance or rejection of the Plan by the parties entitled to vote thereon. Any

15   objection to confirmation of the Plan must be timely filed on or before _______________,

16   2019 to be considered by the Court.

17          B.      REQUIREMENTS OF CONFIRMATION

18          At the hearing on confirmation, the Bankruptcy Court will determine whether the

19   provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the

20   provisions of Section 1129 are met, the Bankruptcy Court may enter an order confirming the

21   Plan. Debtor believes the Plan satisfies all the requirements of Chapter 11 of the Bankruptcy

22   Code, that it has complied or will have complied with all of the requirements of Chapter 11,

23   and that the Plan has been proposed and is made in good faith.

24          With respect to Berman’s Plan, the “Absolute Priority Rule” will apply in the event

25   that all of the following occur: (1) Debtors are unsuccessful on their appeal, (2) the Class

26   Action Creditors do not accept the Plan, (3) the Class Action Claims are not fully paid by
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 1   B. & J., and (4) the remainder of the Class Action Claims are not paid in full from the

 2   Berman Unsecured Claims Fund. The Absolute Priority Rule provides that unsecured

 3   creditors in a dissenting impaired class must be satisfied in full before the debtor is allowed

 4   to retain any property under the plan. In Berman’s case, Berman proposes to retain

 5   approximately $97,665.13 of non-exempt property. Specifically, the non-exempt portion of

 6   equity in his residence, and the amount of cash Berman held on hand and in his checking

 7   account on the Petition Date. In the event the Absolute Priority Rule applies, Berman

 8   proposes to obtain a loan from family or from a financial institution to pay the Class Action

 9   Claims the lesser of $98,000, or the amount needed to pay the remaining balance of the Class

10   Action Claims. See Section 7.7 of the Plan.

11          C.      CRAMDOWN

12          A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the

13   Plan has been accepted by at least one impaired class of claims and the Plan meets the

14   cramdown requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event

15   any impaired Class of Claims does not accept the Plan, Debtor hereby requests the

16   Bankruptcy Court to confirm the Plan in accordance with Section 1129(b) of the Bankruptcy

17   Code or otherwise permit Debtors to modify the Plan.

18          C.D.    FEASIBILITY

19          Debtors believe that confirmation of the Plan is not likely to be followed by the

20   liquidation of either of the Reorganized Debtors or a need for a further financial

21   reorganization of Reorganized Debtors. The projections of B. & J.’s post-confirmation

22   business, attached hereto as Exhibit 1, show sufficient earnings and cash flow from

23   operations to support and meet the ongoing financial needs of Reorganized B. & J. The

24   projections indicate that the Plan as proposed by Debtors is feasible and that Reorganized

25   Debtors will be financially viable after confirmation of the Plan or B. & J. shall liquidate.

26   The ultimate payout to the Class Action Creditors will be dependent on the result of the state
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 1   court appeals. If the Class Action Creditors prevail in full, then the likely result is that

 2   B. & J. will be liquidated. The Plan provides for such a liquidation and, as such, it is feasible

 3   even if Debtors do not prevail on the appeal.

 4          D.E.    CONFIRMATION REQUIREMENTS FOR INDIVIDUAL DEBTOR

 5          To confirm the Plan, the Court must find that “the value of the property to be

 6   distributed under the plan is not less than the projected disposable income of Debtor (as

 7   defined in Section 1325(b)(2)) to be received during the five-year period beginning on the

 8   date the first payment is due under the Plan, or during the period for which the Plan provides

 9   payments, whichever is longer.” 11 U.S.C. § 1129(a)(15)(B). The Plan proposes to pay

10   Berman’s creditors from the Berman Unsecured Claims Fund, which will be funded with

11   Berman’s projected disposable income (as defined in Section 1325(b)(2)) to be received by

12   Berman during the five-year period beginning on the Effective Date. See Exhibit 2, attached

13   hereto. The Plan therefore complies with Section 1129(a)(15)(B).

14          E.F.    ALTERNATIVES TO CONFIRMATION OF THE PLAN

15          If a Plan is not confirmed, Debtors or another party-in-interest may attempt to

16   formulate or propose a different Plan or Plans of Reorganization. Such Plans might involve a

17   reorganization and continuation of B. & J.’s business, a sale of B. & J.’s business as a going

18   concern, an orderly liquidation of B. & J.’s assets, or any combination thereof. If no Plan of

19   Reorganization is determined by the Bankruptcy Court to be confirmable, the Chapter 11

20   case may be converted to a liquidation proceeding under Chapter 7 of the Bankruptcy Code.

21          In a liquidation, a Chapter 7 Trustee would be appointed with the purpose of

22   liquidating the assets of Debtors. Typically, in liquidation, assets are sold for less than their

23   going concern value and, accordingly, the return to Creditors and Interest holders is less than

24   the return in a reorganization, which derives the value to be distributed in a Plan from the

25   business as a going concern. Proceeds from liquidation would be distributed to Creditors and

26   Interest holders of Debtors in accordance with the priorities set forth in the Bankruptcy Code.
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 1          Debtors believe there is no currently available alternative that would offer holders of

 2   Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on

 3   the Plan to vote to accept the Plan.

 4   XI.    CONCLUSION

 5          Please read this Disclosure Statement and the Plan carefully. After reviewing all the

 6   information and making an informed decision, please vote by using the enclosed ballot.

 7          DATED this 15th8th day of JulyOctober, 2019.
                                              Respectfully submitted,
 8
                                                         B. & J. PROPERTY INVESTMENTS, INC.
 9

10
                                                         By /s/ William J. Berman
11                                                          William J. Berman, President
12

13                                                       By /s/ William J. Berman
                                                            William J. Berman, Personally
14

15
     Presented by:
16
     TONKON TORP LLP
17
18
     By /s/ Timothy J. Conway
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        Email:         nhenderson@portlaw.com
 5      Attorneys for William J. Berman
 6

 7   EXHIBITS ATTACHED:
 8   Exhibit 1:   B. & J. Financial Projections
     Exhibit 2:   Berman Projected Disposable Income Calculation
 9   Exhibit 3:   Berman Liquidation Analysis
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     Portland, OR 97204
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13

14                           UNITED STATES BANKRUPTCY COURT

15                                     DISTRICT OF OREGON

16   In re                                                  Case No. 19-60138-pcm11
17   B. & J. Property Investments, Inc.,
18                         Debtor.
19
     In re                                                  Case No. 19-60230-pcm11
20
     William J. Berman,                                     DEBTORS’ AMENDED JOINT
21                                                          DISCLOSURE STATEMENT
                           Debtor                           (OCTOBER 8, 2019)
22

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 1    I.     INTRODUCTION AND SUMMARY

 2           A.      INTRODUCTION

 3           On January 17, 2019 (the “B. & J. Petition Date”), B. & J. Property Investments, Inc.

 4    (“B & J,” or the “Company”) filed a voluntary petition under Chapter 11 of Title 11 of the

 5    United States Bankruptcy Code (the “Bankruptcy Code”). On January 28, 2019 (the

 6    “Berman Petition Date”), William J. Berman (“Berman”) filed a voluntary petition under

 7    Chapter 11 of the Bankruptcy Code. On July 15, 2019, the Company and Berman

 8    (collectively, “Debtors”) filed this Disclosure Statement (the “Disclosure Statement”) with

 9    the U.S. Bankruptcy Court for the District of Oregon (the “Bankruptcy Court”) and their

10    Joint Plan of Reorganization (the “Plan”). A copy of the Plan is included herewith.

11           This Disclosure Statement is being provided to you by Debtors to enable you to make

12    an informed judgment about the Plan. This Disclosure Statement has been prepared to

13    disclose information that in Debtors’ opinion is material, important, and helpful to evaluate

14    the Plan. Among other things, this Disclosure Statement describes the manner in which

15    Claims and Equity Securities will be treated. This Disclosure Statement summarizes the

16    Plan, explains how the Plan will be implemented, outlines the risks of and alternatives to the

17    Plan, and outlines the procedures involved in confirmation of the Plan. The description of

18    the Plan contained in this Disclosure Statement is intended as a summary only and is

19    qualified in its entirety by reference to the Plan itself. If any inconsistency exists between the

20    Plan and this Disclosure Statement, the terms of the Plan shall control. You are urged to

21    review the Plan and, if applicable, consult with your own counsel about the Plan and its

22    impact on your legal rights before voting on the Plan.

23           Capitalized terms used but not defined in this Disclosure Statement shall have the

24    meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

25    contained in this Disclosure Statement is the representation of Debtors only and not of their

26    attorneys, consultants, or accountants. The information has been obtained from the books

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 1    and records of Debtors as well as other sources deemed reliable. Debtors have prepared the

 2    information contained herein in good faith, based on information available to Debtors. The

 3    information herein has not been subject to a verified audit. No representation concerning

 4    Debtors or the Plan is authorized by Debtors other than as set forth in this Disclosure

 5    Statement.

 6           The statements contained in this Disclosure Statement are made as of the date hereof

 7    unless another time is specified herein and the delivery of this Disclosure Statement shall not

 8    imply that there has been no change in the facts set forth herein since the date of this

 9    Disclosure Statement and the date the material relied on in preparation of this Disclosure

10    Statement was compiled.

11           This Disclosure Statement may not be relied on for any purpose other than to

12    determine how to vote on the Plan. Nothing contained herein shall constitute an admission of

13    any fact or liability by any party, or be admissible in any proceeding involving Debtors or

14    any other party, or be deemed advice on the tax or other legal effects of the Plan on the

15    holders of Claims or Equity Securities.

16           This Disclosure Statement has been approved by Order of the Bankruptcy Court as

17    containing information of a kind and in sufficient detail to enable a hypothetical reasonable

18    investor typical of holders of Claims or Equity Securities of relevant classes to make an

19    informed judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure

20    Statement, however, does not constitute a recommendation by the Bankruptcy Court either

21    for or against the Plan.

22           The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to

23    commence on _______________, 2019 at _____ Pacific time. That hearing will be held at

24    the U.S. Bankruptcy Court for the District of Oregon, 1050 SW Sixth Ave.,

25    Courtroom _____, Portland, Oregon 97204, before the Honorable ____________________.

26    The hearing on confirmation may be adjourned from time to time by the Bankruptcy Court

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 1    without further notice except for an announcement made at the hearing on any adjournment

 2    thereof.

 3            A ballot has been enclosed with this Disclosure Statement for use in voting on the

 4    Plan. In order to be tabulated for purposes of determining whether the Plan has been

 5    accepted or rejected, ballots must be received at the address indicated on the ballot no later

 6    than 4:00 p.m. on ________, 2019. Debtors believe that confirmation of the Plan is in the

 7    best interests of the holders of Claims and urge you to accept the Plan.

 8            This Disclosure Statement contains projected financial information and estimates that

 9    demonstrate the feasibility of the Plan of Reorganization and Debtors’ ability to continue

10    operations upon emergence from proceedings under the Bankruptcy Code. Debtors prepared

11    such information for the limited purpose of furnishing information to Creditors to allow them

12    to make an informed judgment regarding acceptance of the Plan of Reorganization. The

13    projections and estimates of value should not be regarded for the purpose of this Disclosure

14    Statement as representations or warranties by Debtors as to the accuracy of such information

15    or that any such projections or valuations will be realized. Actual results could vary

16    significantly from these projections.

17            B.      SUMMARY OF THE PLAN

18            A copy of the Plan is attached and discussed in detail later in this Disclosure

19    Statement. The following description of the Plan is intended as a summary only and is

20    qualified in its entirety by reference to the Plan. Debtors urge each holder of a Claim to

21    carefully review the entire Plan, together with this Disclosure Statement, before voting on the

22    Plan.

23                    1.       General

24            Generally, the Plan provides that (a) Debtors will operate in the ordinary course and

25    pay and satisfy their obligations from revenue generated by operations; and (b) Debtors shall

26    seek to prevail on the appeal in the Class Action Case so they may pay all Creditors in full

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 1    over time; or (c) if Debtors are unable to prevail, or at least substantially prevail on the

 2    appeal, (i) B. & J. will pursue its malpractice claim against Saalfeld Griggs and if insufficient

 3    funds are recovered, B. & J. will then seek to refinance or sell the Real Property and liquidate

 4    its assets, with the Net Proceeds to be distributed pro rata to Unsecured Creditors; and

 5    (ii) Berman will distribute to unsecured creditors all the projected disposable income he

 6    believes he will receive during the five-year period after the Effective Date.

 7                   2.       Secured Creditors

 8           Reorganized B. & J.’s secured Creditor, Columbia Credit Union (“Columbia”), will

 9    be paid the full amount of its Allowed Secured Claim in accordance with the existing terms

10    of its loan to B. & J., except as modified under the Plan with respect to certain loan terms and

11    covenants set forth in the Plan. The payments to Columbia will be approximately $14,080

12    per month.

13           Reorganized Berman’s secured Creditor, Quicken Loans, Inc. (“Quicken Loans”),

14    will be paid the full amount of its Allowed Secured Claim in accordance with the existing

15    terms of its loan to Berman. Berman’s payments to Quicken Loans will be approximately

16    $2,852 per month.

17                   3.       General Unsecured Creditors

18           If B. & J. prevails on the appeal of the Class Action Case, B. & J.’s General

19    Unsecured Creditors will be paid in full, together with interest at the federal judgment rate in

20    effect on the Effective Date. If B. & J. does not prevail on the appeal of the Class Action

21    Case, and there are insufficient funds from a refinancing or liquidation of the malpractice

22    claims, then General Unsecured Creditors will be paid pro rata from the sale and liquidation

23    of B. & J.’s assets on a pro rata basis with the Class Action Claims.

24           To the extent not paid by B. & J., Reorganized Berman’s General Unsecured

25    Creditors and Class Action Creditors (discussed below) shall be paid their pro rata share of

26

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 1    $60,000, which is Berman’s projected disposable income for the five-year period following

 2    the Effective Date. See Exhibit 3, attached hereto.

 3                     4.       Class Action Creditors

 4              Certain Creditors in the Marion County Case (the “Class Action Claims”) were

 5    awarded a General Judgment in the total amount of $4,864,951 against Debtors on

 6    October 31, 2018, which Debtors have appealed. If the Class Action Claims are denied on

 7    appeal, they will receive nothing. If the Class Action Claims are allowed and prevail on

 8    appeal, then such Allowed Claims will be paid in full if B. & J. has sufficient funds to do so

 9    once the appeals have concluded, or B. & J. will liquidate its assets and pay the Class Action

10    Creditors from available funds. B. & J. plans to file an adversary proceeding under 11

11    USC § 547 avoiding the judgment lien obtained by the Class Action Claimants as a

12    bankruptcy preference. If the B. & J. preference claim is successful, the Class Action Claims

13    will be Unsecured Claims even if Allowed. If the preference claim is not successful and the

14    Class Action plaintiffs prevail on the appeal, they would have a Secured Claim against the

15    Real Property up to the value of the Real Property in excess of prior liens. If Class Action

16    Claims are paid in full and entitled to interest, they shall receive interest at the federal

17    judgment rate. To the extent the Allowed Class Action Creditors are not paid in full by

18    B. & J., they shall receive payment from Berman in the amount of their pro rata share of

19    $60,000.

20                     5.       Equity Interests

21              The Plan provides that existing equity interests in B. & J. will be left in place unless

22    the Company is liquidated, in which case equity will be extinguished.

23              The Plan provides that Berman will retain his interests in assets of his bankruptcy

24    estate.

25

26

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 1                    6.       Leases and Executory Contracts

 2            All unexpired leases and executory contracts will be assumed by the respective

 3    Debtors through the Plan unless such unexpired leases and executory contracts have

 4    previously been assumed and assigned or rejected, or a motion seeking their assumption or

 5    rejection has been filed before the Confirmation Date.

 6                    7.       Effective Date

 7            The Effective Date of the Plan shall be the 11th day following entry of the

 8    Confirmation Order.

 9                    8.       Cramdown Election

10            In the event any Class does not accept the Plan, Debtors reserve the right to request

11    that the Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the

12    Bankruptcy Code or otherwise modify the Plan.

13            C.      BRIEF EXPLANATION OF CHAPTER 11

14            Chapter 11 is the principal reorganization provision of the Bankruptcy Code.

15    Pursuant to Chapter 11, a debtor attempts to reorganize its business for the benefit of the

16    debtor, its creditors, and other parties-in-interest.

17            The formulation and confirmation of a plan of reorganization is the principal purpose

18    of a Chapter 11 case. A plan of reorganization sets forth the method for compensating the

19    holders of claims and interests in Debtor. If the plan is confirmed by the Bankruptcy Court,

20    it will be binding on Debtors, their creditors, and all other parties-in-interest. A claim or

21    interest is impaired under a plan of reorganization if the plan provides that the legal,

22    equitable, or contractual rights of the holder of such claim or interest are altered. A holder of

23    an impaired claim or interest is entitled to vote to accept or reject the plan. Chapter 11 does

24    not require all holders of claims and interests to vote in favor of a plan in order for the

25    Bankruptcy Court to confirm it. However, the Bankruptcy Court must find that the plan

26    meets a number of statutory tests before it may approve the plan. These tests are designed to

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 1    protect the interests of holders of claims or interests who do not vote to accept the plan, but

 2    who will nonetheless be bound by the plan’s provisions if it is confirmed by the Bankruptcy

 3    Court.

 4             An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office

 5    in this case pursuant to 11 U.S.C. §§ 1102(a) and (b).

 6    II.      VOTING PROCEDURES AND CONFIRMATION OF PLAN

 7             A.      BALLOTS AND VOTING DEADLINE

 8             A ballot to be used for voting to accept or reject the Plan is enclosed with each copy

 9    of this Disclosure Statement. After carefully reviewing this Disclosure Statement and its

10    exhibits, including the Plan, please indicate your acceptance or rejection of the Plan by

11    voting in favor or against the Plan on the enclosed ballot as directed below.

12             The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for

13    the acceptance or rejection of the Plan must be received by Debtors no later than 4:00 p.m.

14    Pacific time on _______, 2019 at the following address:

15                                    Tonkon Torp LLP
                                      Attention: Spencer Fisher
16                                    1600 Pioneer Tower
                                      888 SW Fifth Avenue
17                                    Portland, OR 97204-2099
18    or via facsimile transmission to Spencer Fisher at (503) 972-3867.

19             Holders of each Claim scheduled by Debtors or with respect to which a Proof of

20    Claim has been filed will receive ballots and are permitted to vote based on the amount of the

21    Proof of Claim, except as discussed below. If no Proof of Claim has been filed, then the vote

22    will be based on the amount scheduled by Debtors in their Schedules. The Bankruptcy Code

23    provides that such votes will be counted unless the Claim has been disputed, disallowed,

24    disqualified, or suspended prior to computation of the vote on the Plan. A Claim to which an

25    objection has been filed is not allowed to vote unless and until the Bankruptcy Court rules on

26    the objection. Holders of disputed Claims who have settled their dispute with Debtors are

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 1    entitled to vote the settled amount of their Claim. The Bankruptcy Code and rules provide

 2    that the Bankruptcy Court may, if timely requested to do so by the holder of such Claim,

 3    estimate or temporarily allow a disputed Claim for the purposes of voting on the Plan.

 4           If a person holds Claims in more than one Class entitled to vote on the Plan, such

 5    person will be entitled to complete and return a ballot for each Class. If you do not receive a

 6    ballot or if a ballot is damaged or lost, please contact:

 7                                   Tonkon Torp LLP
                                     Attention: Spencer Fisher
 8                                   1600 Pioneer Tower
                                     888 SW Fifth Avenue
 9                                   Portland, OR 97204-2099
                                     Telephone: (503) 802-2167
10

11           All persons entitled to vote on the Plan may cast their vote for or against the Plan by

12    completing, dating, and signing the enclosed ballot and returning it, by First Class mail or

13    hand delivery, to Debtors at the address indicated above. In order to be counted, all ballots

14    must be executed and received at the above address no later than 4:00 p.m. Pacific time on

15    _______________, 2019. Any ballots received after 4:00 p.m. Pacific time on

16    _______________, 2019 will not be included in any calculation to determine whether the

17    parties entitled to vote on the Plan have voted to accept or reject the Plan.

18           Ballots may also be received by Debtors by facsimile transmission to Tonkon Torp

19    LLP, Attention: Spencer Fisher, at (503) 972-3867. Ballots sent by facsimile transmission

20    will be counted if faxed to Mr. Fisher and received by 4:00 p.m. Pacific time on

21    _______________, 2019.

22           When a ballot is signed and returned without further instruction regarding acceptance

23    or rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When

24    a ballot is returned indicating acceptance or rejection of the Plan but is unsigned, the

25    unsigned ballot will not be included in any calculation to determine whether parties entitled

26    to vote on the Plan have voted to accept or reject the Plan. When a ballot is returned without

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 1    indicating the amount of the Claim or an amount different from a timely filed Proof of Claim,

 2    then the amount shall be as set forth on Debtor’s Schedules or any timely Proof of Claim

 3    filed with respect to such Claim or Order of the Bankruptcy Court.

 4           B.      PARTIES ENTITLED TO VOTE

 5           Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or

 6    Equity Security Holders that is not deemed to reject the Plan is entitled to vote to accept or

 7    reject the Plan. Any holder of an Allowed Claim that is in an impaired Class under the Plan,

 8    and whose Class is not deemed to reject the Plan, is entitled to vote. A Class is “impaired”

 9    unless the legal, equitable, and contractual rights of the holders of Claims in that Class are

10    left unaltered by the Plan or if the Plan reinstates the Claims held by members of such

11    Class by (i) curing any defaults; (ii) reinstating the maturity of such Claim;

12    (iii) compensating the holder of such Claim for damages that result from the reasonable

13    reliance on any contractual provision or law that allows acceleration of such Claim; and

14    (iv) otherwise leaving unaltered any legal, equitable, or contractual right of which the Claim

15    entitles the holder of such Claim. Because of their favorable treatment, Classes that are not

16    impaired are conclusively presumed to accept the Plan. Accordingly, it is not necessary to

17    solicit votes from the holders of Claims in Classes that are not impaired. Classes of Claims

18    or Interests that will not receive or retain any money or property under a Plan on account of

19    such Claims or Interests are deemed, as a matter of law under Section 1126(g) of the

20    Bankruptcy Code, to have rejected the Plan and are likewise not entitled to vote on the Plan.

21    All Classes of Claims are impaired under Debtors’ Plan.

22           C.      VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN

23           As a condition to confirmation, the Bankruptcy Code requires that each impaired

24    Class of Claims or Interests accept the Plan, subject to the exceptions described below in the

25    section entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of

26    Claims must accept the Plan in order for the Plan to be confirmed.

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 1           For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code

 2   requires acceptance by Creditors that hold at least two-thirds in dollar amount and a majority

 3   in number of the Allowed Claims of such Class, in both cases counting only those Claims

 4   actually voting to accept or reject the Plan. The holders of Claims who fail to vote are not

 5   counted as either accepting or rejecting the Plan. If the Plan is confirmed, the Plan will be

 6   binding with respect to all holders of Claims and Interests in each Class, including Classes

 7   and members of Classes that did not vote or that voted to reject the Plan.

 8           D.     “CRAMDOWN” OF THE PLAN

 9           If the Plan is not accepted by all of the impaired Classes of Claims and Interests of

10   Debtors, the Plan may still be confirmed by the Bankruptcy Court pursuant to

11   Section 1129(b) of the Bankruptcy Code’s “Cramdown” provision if the Plan has been

12   accepted by at least one Impaired Class of Claims, without counting the acceptances of any

13   Insiders of Debtor, and the Bankruptcy Court determines, among other things, that the Plan

14   “does not discriminate unfairly” and is “fair and equitable” with respect to each

15   non-accepting Impaired Class of Claims or Interests. Debtors believe the Plan can be

16   confirmed even if it is not accepted by all impaired Classes of Claims and hereby request the

17   Bankruptcy Court to confirm the Plan in accordance with Section 1129(6) of the Bankruptcy

18   Code or otherwise modify the Plan in the event any Class of Creditors does not accept the

19   Plan.

20           E.     CONFIRMATION HEARING

21           The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to

22   commence on _______________, 2019, at __ a.m. Pacific time. The confirmation hearing

23   will be held at the U.S. Bankruptcy Court for the District of Oregon, Courtroom _____, 1050

24   SW Sixth Avenue,, Portland, Oregon, before the Honorable ________________, United

25   States Bankruptcy Judge. At the hearing, the Bankruptcy Court will consider whether the

26   Plan satisfies the various requirements of the Bankruptcy Code, including whether it is

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 1   feasible and whether it is in the best interests of the Creditors of Debtors. Prior to the

 2   hearing, Debtors will submit a report to the Bankruptcy Court concerning the votes for

 3   acceptance or rejection of the Plan by the persons entitled to vote thereon.

 4          Section 1128(b) of the Bankruptcy Code provides that any party-in-interest may

 5   object to confirmation of the Plan. Any objections to confirmation of the Plan must be made

 6   in writing and filed with the Bankruptcy Court and received by counsel for Debtors no later

 7   than 4:00 p.m. Pacific time on _______________, 2019. Unless an objection to confirmation

 8   is timely filed and received, it will not be considered by the Bankruptcy Court.

 9   III.   COMPANY BACKGROUND AND GENERAL INFORMATION

10          A.      DEBTORS

11          B. & J. is an Oregon corporation authorized to transact business in various

12   jurisdictions, including the State of Oregon, and is headquartered in Oregon.

13          B. & J. is the owner of real estate located at 4490 Silverton Road, N.E., Salem,

14   Oregon (“Premises”). On the Petition Date, the Premises were leased to Better Business

15   Management (“BBM”). BBM owned and operated an RV park and self-storage unit business

16   on the Premises entitled Salem RV park and Storage. The Premises consist of a 158-unit

17   RV park and a 243-Unit, 29,750-square-foot (net rentable area) self-storage facility on a

18   9.06-acre parcel. A 6,758-square-foot general purpose building that includes an office,

19   laundry facilities, restrooms with showers, and a recreation room is located on the Premises.

20   The building also includes 17 upstairs storage units that have been included in the total count

21   and rentable area.

22          Berman is an individual residing in the State of Oregon, and is the President and 50%

23   shareholder of B. & J.

24          B.      DEBTORS’ BUSINESS

25          Prior to the Petition Date, B. & J. historically engaged in the real estate investment

26   and development business. B. & J. was formed in the early 1990s and developed various

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 1   projects, including the real property at 4490 Silverton Road. As part of its business plan to

 2   develop other properties and not operate an RV park, B. & J. entered into a Commercial

 3   Lease on or about January 30, 1997, leasing the Premises to BBM, which lease had been

 4   subsequently amended and extended at various times up to the Petition Date (collectively, the

 5   “BBM Lease”). Under the BBM Lease, BBM owned, operated, and maintained the RV park

 6   and self-storage facility and made lease payments to B. & J. When the Marion County

 7   Circuit Court entered a General Judgment against B. & J., BBM, and Berman on October 31,

 8   2018 (see “Marion County Litigation” below), BBM became insolvent and unable to

 9   continue performance and was, therefore, in breach of the Lease. On the Petition Date,

10   B. & J. sought Court authority to reject the BBM Lease and to change its business model to

11   start operating an RV park and self-storage unit business. (See B. & J.’s Motion to Reject

12   Commercial Lease and Authorize Use and Operation of Property as RV park and Self-

13   Storage Facility [ECF No. 7]. The Court granted Debtor’s motion on February 13, 2019

14   [ECF No. 104].1

15          Prior to filing the Bankruptcy Cases, Berman’s principal business was operating

16   B. & J. and BBM, and other real estate-centered entities. Berman intends to continue

17   operating B. & J. under its new business model, and also intends to operate the other business

18   entities in which he has been involved in the past.

19          C.      MANAGEMENT OF B. & J.

20          B. & J. is an Oregon corporation owned 50% by William J. Berman and 50% by

21   Debra Lynn Berman. Mr. Berman is the president of Debtor and Ms. Berman is the

22   secretary. Together they have over 25 years of real estate development and investment

23   experience and 26 years of experience in the RV park and storage rental business.

24   Reorganized B. & J. will consist of the same owners and management as currently exists.

25   1
      Unless otherwise specified, all references to docket entry numbers refer to B. & J.’s case,
     Bankruptcy Case No. 19-60138-pcm11.
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 1   Although B. & J. employs additional employees to maintain and repair its property in the

 2   ordinary course, Mr. and Ms. Berman perform much of the maintenance and repairs

 3   themselves, in addition to their management duties, saving B. & J. considerable expense and

 4   enhancing the value of B. & J.’s property. All B. & J. employees are at-will employees.

 5   There are no retiree benefits to be paid by Reorganized Debtor employees.

 6          D.      MARION COUNTY LITIGATION

 7          On or about April 12, 2013, Loren Hathaway, on behalf of himself and all others

 8   similarly situated within the State of Oregon, et. al, commenced a class action case against

 9   Debtor, BBM, and Berman in the Circuit Court for the State of Oregon for the County of

10   Marion as Case No. 13C14321 (“Marion County Case”). Plaintiffs in the Marion County

11   Case asserted claims for relief based on the manner in which BBM charged utility services to

12   tenants at the RV park and later for rent retaliation. Plaintiffs obtained an order against

13   BBM, the owner and operator of the Salem RV park, for approximately $4 million dollars for

14   improper utility charges. The court entered a judgment against BBM in spite of the fact that

15   the RV park never made any money on the utility charges. The liability was based on a

16   statutory construction of how kilowatt hours were charged to tenants and for charging a fixed

17   meter fee.

18          The fact that the tenants actually paid less for the utility services (at the commercial

19   rate) than they would have paid had they been charged the full residential utility rate was

20   deemed immaterial. The court imposed damages equal to two times the tenants’ monthly

21   rental rate for each month of the tenant’s occupancy. When BBM tried to adjust its rates in a

22   revenue neutral manner to comport with the court’s ruling, plaintiffs’ demand, and in

23   accordance with the advice of its counsel, Saalfeld Griggs, BBM was then hit with a

24   retaliation claim for which it was also found liable in the sum of approximately $1 million.

25   Once plaintiffs obtained liability against BBM, plaintiffs sought to impose liability on B. & J.

26   as the owner of the property, and against Berman individually under piercing theories. The

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 1   state court ruled that Berman and B. & J. were also liable for all of the damages owed by

 2   BBM. The court entered a General Judgment against B. & J., BBM, and Berman on

 3   October 31, 2018, in the sum of $3,900,501 on the electrical charge claims to the Main

 4   Class members, plus $964,450 to the Retaliation Sub-Class members. Plaintiffs have

 5   submitted their claim for attorneys’ fees and costs to the Court pursuant to ORCP 68. The

 6   Court has issued an opinion granting Plaintiffs’ attorneys’ fees, but further proceedings are

 7   necessary to determine the final amount, and for entry of an order and judgment. Defendants

 8   BBM, Berman, and B. & J. have filed an appeal of the initial judgment and will appeal the

 9   attorney fees award. Debtors expect to prevail, or at least substantially prevail, on appeal.

10          E.      ELECTRICAL BILLING AT THE RV PARK

11          Salem R.V. Park was planned and developed by Eugene Jones (Ms. Berman’s father)

12   and was opened in 1991. During planning and development of the park, Mr. Jones met and

13   coordinated with the various municipalities and utilities. Mr. Jones met with Portland

14   General Electric to design an electric grid for the park’s 124, and later 158, individually-

15   metered sites, and to provide guidance as to an electrical billing system that was legal and

16   equitable. Despite Mr. Jones’ desire to have a residential electrical meter at each and every

17   individual site (providing an exact kilowatt usage and billing per site), PGE determined that

18   only 16 PGE commercial meters would be installed on the property.

19          This forced the park operator to act as a middleman for electrical billing by making

20   them the responsible party for determining the gross power consumption of each individual

21   tenant. In the spirit of fairness, Mr. Jones placed a sub-meter at each of the sites, which

22   allowed the park to accurately allocate power consumption to the individual sites and ensured

23   that low power users would not subsidize high power users and that enabled all tenants to

24   benefit from the much lower commercial rates.

25          With further guidance from PGE, this system of allocating power to each individual

26   tenant site through a monthly sub-meter reading by the park operator was established and

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 1   implemented with the understanding that while the park operator could not make a profit on

 2   electrical billing, it could charge a basic fee, or meter fee, not to exceed the basic charge

 3   billed by PGE. The billing system thus implemented charged a fixed KWH charge

 4   (commercial rates constantly fluctuate based on usage) and a meter fee of five dollars (at a

 5   time when PGE’s meter fee was seven). This arrangement caused BBM to lose roughly four

 6   thousand dollars annually on electrical billing, effectively subsidizing its tenants’ electrical

 7   costs.

 8            In 1993, Berman began to manage the Park alongside Mr. Jones, with the electric

 9   billing systems Mr. Jones developed. When BBM took over park operations, Berman (as an

10   officer of BBM) audited all business practices, including electrical billing, and confirmed

11   that the electrical billing practices, calculations, and allocation of the 16 PGE meters to the

12   individual sites was proper and legal according to the parameters of several governing

13   agencies, including the Public Utility Commission, Oregon Housing and Community

14   Services (aka Oregon MultiFamily), and PGE. BBM, therefore, continued operation of the

15   RV park with the electrical billing practices originally implemented by Mr. Jones.

16            Over the follow 20 years, these billing practices were reconfirmed several times to

17   ensure that laws were being followed, including when all Oregon RV parks came under

18   landlord-tenant law, and after the Marion County lawsuit was filed. Every audit during these

19   20-plus years of operation, and all government agencies (the Public Utility Commission,

20   Oregon Housing and Community Services, and PGE) confirmed that BBM’s electrical billing

21   system was best practice and legal. To this day, neither BBM nor either of Debtors have ever

22   made a dollar in profit from this electrical billing arrangement for tenants, a fact not disputed

23   by plaintiff’s counsel in the Marion County Case, who stated in open court that “we have no

24   reason to believe Salem RV park has ever made money on utilities.”

25            Despite the fact that only the word “Cost” and never the term “kWh” is used in

26   ORTLA, and most importantly, despite the fact that no tenant has ever paid more than what

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 1   PGE would have billed them individually, the Marion County Court ruled that because of

 2   BBM’s kilowatt hour charging structure, BBM was in violation of the law.

 3          On July 29, 2013, under the advice of its legal counsel, Saalfeld Griggs PC, BBM

 4   implemented changes to its electrical billing practices in an effort to mitigate damages by

 5   complying with the demands of the lawsuit. BBM implemented the following billing

 6   changes: (1) the meter fee was removed, (2) the kWh charge was reduced and now varies

 7   monthly, and (3) rents were raised $20. These changes resulted in little to no increased gross

 8   revenue, but a gross loss on electrical billings of roughly $15,000 annually. Rents were

 9   raised to partially offset some of these losses and because rents had not been raised at the

10   RV park for a long time. However, as a result of the changes, plaintiffs amended the

11   complaint and successfully sued the defendants for rent retaliation.

12   IV.    EVENTS LEADING TO THE BANKRUPTCY FILING

13          Debtors’ bankruptcy filings were precipitated by the general judgment entered in the

14   Marion County Case and by the accumulated financial losses related thereto. Debtors have

15   insufficient funds with which to pay the judgment and attorney fees for both plaintiffs and

16   itself. As a result, Debtors filed for Chapter 11 bankruptcy.

17   V.     SIGNIFICANT POST-PETITION EVENTS

18          A.      CASH COLLATERAL

19          Early in the case, B. & J. obtained consent from Columbia Credit Union and court

20   approval to use cash collateral to pay ongoing Chapter 11 expenses. The Court entered an

21   Order Authorizing the Use of Cash Collateral and Granting Adequate Protection on

22   February 6, 2019 [ECF No. 96].

23          B.      REJECTION OF COMMERCIAL LEASE

24          Upon filing the Chapter 11, B. & J. also obtained court approval to reject the

25   Commercial Lease between B. & J. and BBM, and to authorize B. & J. to operate the

26   property as an RV park and self-storage facility in the ordinary course of its business during

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 1   this bankruptcy proceeding, as more fully described above (“B. & J.’s Business”). A detailed

 2   description of the rejected lease can be found at ECF No. 7 or by contacting counsel for

 3   B. & J.

 4             Consistent with rent restrictions imposed by an as-then-impending Oregon law, which

 5   has now been enacted, B. & J. instituted a rent structure that would start to bring rental rates

 6   in line with current market rents while at the same time not increasing rents too much from

 7   the prior owner. B. & J. is also investing to make improvements and repairs to create a

 8   desirable park and storage operation. After court approval, B. & J. hired employees and

 9   commenced operations as the RV park and self-storage business entitled Salem Estates RV

10   Park and Salem Estates Storage.

11             C.     RELIEF FROM STAY

12             On or about May 15, 2019, B. & J. and Plaintiffs’ Class Action counsel entered into a

13   Stipulated Order Granting Limited Relief From Stay [ECF No. 166] (“Relief From Stay

14   Order”) whereby the parties agreed, and the Court ordered, that the state court proceeding

15   could continue to its completion at the trial level, and then continue on to resolve any and all

16   subsequent appeals; provided, however, that any further rulings would not constitute a lien

17   on any of the B. & J. property or assets, and any payment of any amounts ultimately ruled to

18   be due and owing would be governed by the Plan of Reorganization.

19             On or about June 21, 2019, Berman and Plaintiffs’ Class Action counsel entered into

20   a Stipulated Order Granting Limited Relief From Stay [ECF No. 70 (Berman Case)]2

21   (“Berman Relief From Stay Order”) whereby the parties agreed and the Court ordered that

22   the state court proceeding could continue to its completion at the trial level, and then

23   continue on to resolve any and all subsequent appeals; provided, however, that any further

24   rulings would not constitute a lien on any of Berman’s property or assets, and any payment

25   2
      Reference to documents in the “Berman Case” refer to docket entries in Bankruptcy Case
     No. 19-60230-pcm11.
26

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 1   of any amounts ultimately ruled to be due and owing would be governed by the Plan of

 2   Reorganization. Additionally, the parties agreed that the Class Action Plaintiffs’ judgment

 3   lien would be promptly avoided pursuant to 11 U.S.C. § 547.

 4          D.      EMPLOYMENT OF PROFESSIONALS

 5          B. & J. has retained Tonkon Torp LLP as its general counsel in this case. B. & J. also

 6   sought and obtained Bankruptcy Court approval for the employment of (a) Saalfeld Griggs

 7   PC as its special purpose counsel, and (b) Fischer, Hayes, Joye & Allen LLC as its

 8   accountants. B. & J. and Berman also obtained an order authorizing the employment of

 9   Janet M. Schroer as special purpose counsel to represent them as appellate counsel in the

10   Class Action Case. Ms. Schroer will be paid by the Oregon State Bar Professional Liability

11   Fund as repair counsel based on the malpractice claim asserted against Saalfeld Griggs by

12   Debtors.

13          Berman has retained Motschenbacher & Blattner LLP as its general counsel in the

14   Berman Bankruptcy Case, and as appellate counsel in the Class Action Case. Berman also

15   sought and obtained Bankruptcy Court approval for the employment of Fischer, Hayes,

16   Joye & Allen LLC as his accountant. Berman may seek authority to employ alternate

17   appellate counsel for the Class Action Case if appropriate.

18   VI.    ASSETS AND LIABILITIES

19          A.      ASSETS

20                  1.       B. & J.’s Real Property

21          As described above, B. & J.’s principal asset is the Real Property containing the 158-

22   unit RV park and 243-unit self-storage facility on a 9.06-acre parcel both located at 4490

23   Silverton Road, N.E., Salem, Oregon. Debtors estimate that the value of the Real Property

24   was approximately $5,000,000 as of the B. & J. Petition Date.

25          As of the Petition Date, B. & J. held bare legal title to the Property and the RV Park

26   and Storage business was operated by Better Business Management (“BBM”). BBM was in

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 1   default under the lease with B. & J. and was insolvent as a result of the Class Action

 2   judgment entered against it. Thus, as of the Petition Date, B. & J. owned Property with an

 3   insolvent tenant that was in default. Such circumstances depressed the value of the Property.

 4   In addition, the Property had been underperforming given that BBM had been charging

 5   under-market rates. Further, the Property had significant amounts of deferred maintenance,

 6   which further depressed its value. Although a prior appraisal had valued the Property at one

 7   point at approximately $6 million, B. & J.’s owner believes that appraisal was too high and

 8   given the present state of the Property as of the Petition Date, a $5 million valuation was

 9   more accurate. In any event, the Property value is expected to increase under the Plan since

10   B. & J. has taken possession of the Property and is now running an RV Park and Storage

11   business that it expects will be able to generate sufficient revenue to make the needed repairs

12   and improvements to increase the Property value during the life of the Plan. Moreover, if

13   B. & J. is not able to generate sufficient funds to pay all Allowed Claims in full, then the

14   Property will be liquidated. Upon liquidation, the value will be determined by the

15   marketplace.

16                  2.       Berman’s Real Property

17          Berman co-owns, with his wife, real property and a single family home in Salem,

18   Oregon. Legal title to the home is held by the Berman Living Trust Dated October 21, 1997.

19   Berman estimates that the total value of the residence was approximately $568,060 as of the

20   Berman Petition Date. Therefore, Berman estimates that the value of his 50% interest in the

21   residence was approximately $284,030 as of the Berman Petition Date.

22                  3.       Personal Property

23          As of the Petition Date, B. & J.’s hard assets consisted of a 2017 Chevy suburban and

24   a 2001 New Holland tractor, as well as some miscellaneous office furniture and equipment

25   with little market value. B. & J. had cash accounts as of the Petition Date in the total amount

26   of $114,209.26, and also had a receivable from Berman in the amount of $61,000. This

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 1   original amount was reduced prepetition by $29,730, when B. & J. acquired Mr. and

 2   Ms. Berman’s debt and collateral rights against BBM and its assets. After the Court order

 3   rejecting B. & J.’s lease with BBM, B. & J. acquired the personal property of BBM in

 4   satisfaction of that lien. The value of this additional property acquired postpetition is

 5   $29,730.

 6          B. & J. has a receivable from William Lloyd Developments, Inc. in the total face

 7   amount of $1,837,322, of which $937,322 is a doubtful or uncollectable amount. This

 8   receivable is further subject to reduction based on a debt of $350,164 owed by B. & J. to

 9   William Lloyd Developments, Inc. A list of all of B. & J.’s assets can be found at

10   Schedule A/B [ECF No. 89]. The collection of the full amount of the receivable from

11   William Lloyd is doubtful since in the past 11 years William Lloyd has sold only one

12   undeveloped lot. If payment were demanded immediately, the William Lloyd assets would

13   need to be sold at depressed values resulting in a lower liquidation value and less funds to

14   pay B. & J.

15          As of the Berman Petition Date, Berman’s hard assets consisted of miscellaneous

16   household goods and furnishings Berman co-owns with his wife. Berman also had checking

17   accounts worth $35,937.53, and individual retirement accounts that Berman has claimed as

18   fully exempt. Berman also owns stock or membership interests in the following entities:

19   (a) 50% of the outstanding stock of B. & J., (b) 50% of the outstanding stock of BBM,

20   (c) 28% of the outstanding stock of William Lloyd Investments, Inc., and (d) 20% of the

21   outstanding membership interest in B. & J. Investments LLC. Berman is also owed

22   $107,690.33, including interest, in relation to a loan that he and his wife made to William

23   Lloyd Investments, Inc. A list of Berman’s assets can be found in Berman’s Amended

24   Schedule A/B [ECF No. 44 (Berman Case)].

25          B. & J. is also owed reimbursement from BBM for legal fees ($302,603.25 paid and

26   $293,354 unpaid) incurred in the Marion County Case and owed under an indemnity clause

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 1   in BBM’s Lease with B. & J. — B. & J. does not expect to collect this amount as BBM is

 2   now out of business and has no assets.

 3          Debtors also have potential malpractice claims against Saalfeld Griggs LLP for legal

 4   advice that resulted in the Class Action retaliation liability claim of $964,450, plus attorney

 5   fees to be awarded, and legal advice that resulted in disregard of corporate status that resulted

 6   in the class action judgment liability of $4,864,951 (which includes the retaliation liability

 7   claim of $964,450), plus attorney fees to be awarded. Debtors have made demand on

 8   Saalfeld Griggs for these claims and are negotiating a tolling agreement. Debtors dispute

 9   their liability to the Class Action Creditors but if such liability is upheld on appeal, Debtors

10   believe they have valid claims against Saalfeld Griggs since Debtors relied upon and

11   followed Saalfeld Griggs’ advice in conducting its business in the manner in which the state

12   court found to result in the retaliation liability and the successor liability of both Debtors.

13   Debtors intend to file an objection to Saalfeld Griggs’ prepetition Claim and, as a result,

14   expect that no payments will be made on that Claim pending the conclusion of the

15   Class Action appeals and resolution of any malpractice claims against Saafeld Griggs.

16          Berman may also have a claim against his minor grandchildren, for gifts made to

17   those minors’ college savings funds. Berman and his wife jointly contributed $21,740.57,

18   half of which was from Berman. As a result, Berman’s potential claim equals $10,870.29,

19   which has been included in Berman’s liquidation analysis attached as Exhibit 3.

20          B.      LIABILITIES

21                  1.       Columbia Credit Union

22          According to the proof of claim filed by Columbia Credit Union, the amount of debt

23   owing to Columbia Credit Union as of the Petition Date is $2,225,037.38 in principal, plus

24   accrued interest in the amount of $918.05, and $3,412.50 in prepetition attorney fees and

25   costs. To secure its obligations, on September 11, 2015, B. & J. granted Columbia Credit

26   Union a security interest in the Real Property located at 4490 Silverton Road NE, Salem,

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 1   Oregon. Additionally, Berman executed and delivered a personal guaranty. A copy of

 2   Columbia Credit Union’s Deed of Trust and the Berman Guaranty are attached to its Proof of

 3   Claim [Claim 3 (B. &. J. Case)].

 4                  2.       Marion County Case Claim

 5          A General Judgment was entered against Debtor, BBM, and Mr. Berman on

 6   October 31, 2018, in the sum of $3,900,501 on the electrical charge claims to the Main

 7   Class members, plus $964,450 to the Retaliation Sub-Class members. In addition, plaintiffs

 8   have requested attorney fees of $1,100,000 and costs of $52,378.39. Debtors expect they

 9   will prevail in the appeal of the Marion County Case, and that as a result all creditors except

10   the Class Action Claim plaintiffs will be paid in full. If Debtors do not prevail in the appeal

11   of the Marion County Case, B. & J. will pursue the malpractice claims against Saalfeld

12   Griggs and if sufficient recovery is not made therefrom, will then liquidate its assets.

13                  3.       Unsecured and Class Action Creditors

14          The total amount of Unsecured Claims scheduled by B. & J. or filed by Creditors

15   against B. & J. is approximately $751,182.49 (excluding claims filed by the Class Action

16   Creditors which were listed as disputed). The total filed claims against B. & J. is

17   approximately $7,845,738.24 including the Class Action ClaiMs. This amount excludes any

18   duplication for scheduled and filed claims and does not include anticipated costs and attorney

19   fees to be awarded to the Class Action Plaintiffs in the Class Action Case.

20          The total amount of Unsecured Claims scheduled by Berman or filed by Creditors

21   against Berman is approximately $355,785.49 (excluding the Columbia Guaranty Claim,

22   which is to be paid by B. & J., and claims filed by the Class Action Creditors which were

23   listed as disputed). The total amount of filed claims against Berman is approximately

24   $7,763,541.53. This amount excludes any duplication for scheduled and filed claims.

25

26

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 1   VII.    DESCRIPTION OF PLAN

 2           A.      BRIEF EXPLANATION OF CHAPTER 11

 3           Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.

 4   Under Chapter 11, a debtor is authorized to reorganize its business for the benefit of itself, its

 5   creditors, and its equity holders. Confirmation of a plan of reorganization is the principal

 6   objective of a Chapter 11 reorganization case. A plan of reorganization sets forth the means

 7   for satisfying claims against, and interests in, a debtor. Confirmation of a plan of

 8   reorganization by a bankruptcy court makes the plan binding upon the debtor, any issuer of

 9   securities under the plan, any person acquiring property under the plan, and any creditor and

10   any equity holder of the debtor. Subject to certain limited exceptions provided by the

11   Bankruptcy Code, and except as specifically provided in the Plan of Reorganization, the

12   confirmation order discharges debtor from any debt that arose prior to the date of such

13   confirmation and order and substitutes therefore the obligations specified in the plan.

14
             B.      SOLICITATION, CLASSIFICATION, AND TREATMENT OF
15                   CLAIMS AND EQUITY SECURITIES

16                   1.       General

17           Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization

18   must designate classes of Claims and classes of Interests. The Plan classifies all Claims and

19   Interests into four classes. The classification of Claims and Interests is made for the purpose

20   of voting on the Plan and making distributions thereunder, and for ease of administration of

21   the Plan. A Claim or Interest is classified in a particular Class only to the extent the Claim or

22   Interest qualifies within the description of that Class, and is classified in a different Class to

23   the extent the Claim or Interest qualifies within the description of such different Class. A

24   Claim or Interest is entitled to vote in a particular Class and to receive distributions in such

25   Class only to the extent such Claim or Interest is an Allowed Claim or Allowed Interest in

26   that Class and has not been paid prior to the Effective Date. Under the Plan, a Claim or

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 1   Interest is an Allowed Claim against, or an Allowed Interest in, Debtor to the extent that (a) a

 2   proof of the Claim or Interest was (1) timely filed, or (2) deemed filed under applicable law

 3   by reason of an order of the Bankruptcy Court; or (b) scheduled by Debtor on its Schedules

 4   of Liabilities as neither contingent, unliquidated, or disputed; and (c) (i) no party-in-interest

 5   has filed an objection within the time fixed by the Bankruptcy Court, (ii) the Claim or

 6   Interest is allowed by Final Order; or (iii) with respect to an application for compensation or

 7   reimbursement of an Administrative Expense Claim, the amount of the Administrative

 8   Expense Claim has been approved by the Bankruptcy Court.

 9                  2.       Unclassified Claims

10          Administrative Expense Claims and Priority Tax Claims are not classified. An

11   Administrative Expense Claim is a Claim against Debtors constituting an expense of

12   administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code

13   including, without limitation, the actual and necessary costs and expenses of preserving the

14   estate and operating Debtors’ business during the Bankruptcy Case; claims for the value of

15   goods received by Debtors within 20 days before the Petition Date sold in the ordinary

16   course of business; any indebtedness or obligations incurred by Debtors during the pendency

17   of the Bankruptcy Case in connection with the provision of goods or services to Debtors;

18   compensation for legal and other professional services and reimbursement of expenses; and

19   statutory fees payable to the U.S. Trustee.

20          A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to

21   priority under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled

22   to priority but for the Secured status of the Claim. Each holder of an Allowed Priority Tax

23   Claim shall be paid by Reorganized Debtors within 30 days following the Effective Date or

24   the date the Claim is Allowed, whichever is sooner, the full amount of its Allowed Priority

25   Tax Claim as allowed by 11 U.S.C. § 1129(a)(9)(C) and (D). The IRS has filed a Priority

26

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 1   Tax Claim against B. & J. in the amount of $336.82, and against Berman in the amount of

 2   $100.

 3           Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid

 4   in full on the later of the Effective Date or the date on which any such Administrative

 5   Expense Claim becomes an Allowed Claim unless such holder shall agree to a different

 6   treatment of such Claim (including, without limitation, any different treatment that may be

 7   provided for in any documentation, statute, or regulation governing such Claim). However,

 8   the Administrative Expense Claims representing liabilities incurred in the ordinary course of

 9   business (including amounts owed to vendors and suppliers that have sold goods or furnished

10   services to Debtors after the Petition Date), if any, will be paid in accordance with the terms

11   and conditions of the particular transactions and any other agreements relating thereto.

12   Debtor will include the estimated amount of such expenses in the Report of Administrative

13   Expense Claims to be filed prior to the hearing on confirmation.

14                  3.       Classified Claims

15           The following summary of distributions under the Plan to Classified Claims does not

16   purport to be complete and is subject to, and is qualified in its entirety by reference to, the

17   Plan included herewith.

18                           (a)    Class 1 (Columbia Credit Union’s Secured Claim Against

19   B. & J.). Columbia Credit Union (“Columbia”) has a first-position security interest in

20   B. & J.’s real property located at 4490 Silverton Road NE, Salem, Oregon, to secure its

21   Allowed Secured Claim. Columbia will retain its interest in its Collateral with the same

22   priority that it had on the Petition Date. Columbia will be paid the full amount of its Allowed

23   Secured Claim in accordance with the existing terms of its loan to Debtor except for the

24   changes to terms and covenants as detailed in the Plan. The payments to Columbia from

25   B. & J. will be approximately $14,080 per month.

26

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 1                          (b)    Class 2 (Columbia’s Unsecured Guaranty Claim Against

 2   Berman). Columbia has an unsecured claim against Berman pursuant to his personal

 3   guaranty of B. & J.’s debt to Columbia. Berman will remain liable to Columbia under the

 4   personal guaranty in accordance with the existing terms of Columbia’s loan to B. & J. except

 5   for the changes to terms and covenants as detailed in the Plan.

 6                          (c)    Class 3 (Quicken Loans’ Secured Claim Against Berman).

 7   Quicken Loans, Inc. (“Quicken Loans”) has a first-position security interest in Berman’s

 8   personal residence in Salem, Oregon, to secure its Allowed Secured Claim. The Class 3

 9   claim is unimpaired and not entitled to vote on the Plan. Quicken Loans will be paid the full

10   amount of its Allowed Secured Claim in accordance with the existing terms of its loan to

11   Berman.

12                          (d)      Class 4 (General Unsecured Claims Against B. & J.). Each

13   Class 4 Unsecured Claim against B. &. J. will be paid in full, together with interest at the

14   federal judgment rate in effect on the Effective Date, from and after the Effective Date, as

15   follows: (i) commencing on the first day of the first full month following the Effective Date,

16   General Unsecured Creditors will be paid monthly payments of interest only, at the federal

17   judgment rate, for 24 months; and (ii) commencing on the first day of the 25th month

18   following the Effective Date, General Unsecured Creditors will be paid the full balance of

19   their claims in equal amortizing monthly payments, including principal and interest at the

20   federal judgment rate, for the next 36 months; provided, however, that if the appeal of the

21   Class Action Case is not successful and funds are due and owing to the Class 6 Claimants

22   under a Final Order, then payments made to Class 4 Claims up to that point will be

23   recharacterized as payments of principal only and Class 4 Claims shall share pro rata in the

24   liquidation of assets described in Class 6 below on a pari passu basis with Class 6 Unsecured

25   Claims, with no further payments being made to Class 4 Claims until such time as payments

26

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 1   to Class 6 Unsecured Claims have caught up and are on par with the percentage previously

 2   received by Class 4 Claims.

 3                         (e)     Class 5 (General Unsecured Claims Against Berman). Each

 4   General Unsecured Claim against Berman will be paid first from B. & J. under Class 4, and

 5   any balance remaining shall be paid its pro rata share of funds held in the “Berman

 6   Unsecured Claims Fund,” which shall be created and funded by Berman from his earnings

 7   after the Effective Date. The amount to be paid by Berman into the Berman Unsecured

 8   Claims Fund is $1,000 per month for five years, or until $60,000 has been deposited by

 9   Berman, or such other amount as is required by the Bankruptcy Court. The Class 5 creditors’

10   pro rata share of the Berman Unsecured Claims Fund shall be calculated from the total

11   amount of Class 5 and Class 7 claims.

12                         (f)     Class 6 (Class Action Claims Against B. & J.). Each holder of

13   an Allowed Claim as a result of a Final Order entered in the Class Action Litigation and

14   appeals will be paid the full amount ultimately awarded by the Court, if any, if B & J. has

15   sufficient assets to make such payments and, if not, from the pro rata Net Proceeds from the

16   closing down/liquidation and sale of B. & J.’s business and assets, as follows:

17                  Upon entry of a Final Order on the Class Action Claims, Reorganized B. & J.

18                  will pay Allowed Class Action Claims, whether Secured or Unsecured, within

19                  12 months after any order entered in the Class Action Case becomes a Final

20                  Order. To the Extent Reorganized B. & J. does not have sufficient funds to

21                  pay the Allowed Class 6 Claims from available cash, then Reorganized

22                  B. & J. shall first seek to pursue the malpractice claims against Saalfeld

23                  Griggs in order to recover the full amounts owing to the Class Action

24                  ClaiMs. If recovery against Saalfeld Griggs is not successful, then

25                  Reorganized B. & J. will seek to refinance the Real Property to generate Net

26                  Proceeds in a sufficient amount to pay the Allowed Class 6 ClaiMs. If

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 1                  Reorganized B. & J. is unable to refinance the Real Property, then

 2                  Reorganized B. & J. shall proceed to sell the Real Property and liquidate all its

 3                  remaining assets, with the Net Proceeds from the Real Property to be paid first

 4                  in full satisfaction of the Allowed Class 6 Secured Claims and thereafter to the

 5                  Allowed Class 4 and Class 6 Unsecured ClaiMs. If the Net Proceeds are

 6                  insufficient to pay Allowed Unsecured Claims in full, then each Unsecured

 7                  Claimant shall be paid its pro rata share of the amount owed to all Allowed

 8                  Class 4 and 6 Unsecured ClaiMs. Proceeds from the malpractice claims

 9                  against Saalfeld Griggs, Net Proceeds of the refinancing, or Net Proceeds

10                  from the sale of the Real Property and liquidation of assets shall first be paid

11                  to the Class 6 Unsecured Claims until such payments equal the same

12                  percentage that Class 4 Claims have received to date, and thereafter Class 4

13                  and Class 6 Unsecured Claims shall be paid from available funds on a pro rata

14                  basis.

15                           (g)    Class 7 (Class Action Claims Against Berman). Each holder of

16   an Allowed Claim as a result of a Final Order entered in the Class Action Litigation and

17   appeals will first be paid the full amount ultimately awarded by the Court, if any, if B & J.

18   has sufficient assets to make such payments and, if not, from the pro rata proceeds from the

19   closing down/liquidation and sale of B. & J.’s business and assets. Any Class 7 Claims that

20   remain after payment is made by B. & J. shall be paid a pro rata share of the Berman

21   Unsecured Claims Fund described above. The Class 7 creditors’ pro rata share of the

22   Berman Unsecured Claims Fund shall be calculated from the total amount of Class 5 and

23   Class 7 claims.

24                           (h)    Class 8 (Interests in B. & J.). The Plan provides that holders of

25   Class 8 Interests will retain their interest in Reorganized B. & J., except in the event there are

26   insufficient funds to pay Creditors, in which case the interest will be of no value.

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 1                           (i)    Class 9 (Berman’s Interest in Estate). The Plan provides that

 2   Berman shall retain his interest in the property of his bankruptcy estate.

 3          C.      ADMINISTRATIVE EXPENSES

 4          B. & J. has retained the following professionals: (1) Tonkon Torp LLP as its general

 5   counsel in this case, (2) Saalfeld Griggs PC as its special purpose counsel, and (3) Fischer,

 6   Hayes, Joye & Allen LLC as its accountants. The total amount of Administrative Expense

 7   Claims is uncertain at this time. It is anticipated that some professionals may agree to defer

 8   payment of their Administrative Claim, if necessary. A statement of professional fees

 9   incurred in this case will be filed with the Court prior to the confirmation hearing.

10          Berman has retained the following professionals: (1) Motschenbacher & Blattner

11   LLP as his general bankruptcy counsel in this case, and as appellate counsel in the

12   Class Action, and (2) Fischer, Hayes, Joye & Allen LLC as his accountants. The total

13   amount of Administrative Expense Claims is uncertain at this time. It is anticipated that

14   some professionals may agree to defer payment of their Administrative Claim, if necessary.

15   A statement of professional fees incurred in this case will be filed with the Court prior to the

16   confirmation hearing.

17          D.      EXECUTORY CONTRACTS

18          The Bankruptcy Code gives Debtors the right, after commencement of their

19   Chapter 11 Cases, subject to approval of the Bankruptcy Court, to assume or reject executory

20   contracts and unexpired leases. Generally, an “executory contract” is a contract under which

21   material performance (other than the payment of money) is still due by each party. The Plan

22   provides for the assumption by debtors of all executory contracts and unexpired leases that

23   are not expressly rejected or subject to a motion for rejection filed on or before the

24   Confirmation Date.

25          If an executory contract or unexpired lease is or has been rejected, the other party to

26   the agreement may file a Proof of Claim for damages resulting from such rejection. The Plan

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 1   provides that a Proof of Claim with respect to any such Claim must be filed within 30 days of

 2   approval of the Bankruptcy Court of the rejection of the relevant executory contract or

 3   unexpired lease. Any such Claim shall constitute a Class 2 Claim to the extent such Claim is

 4   finally treated as an Allowed Claim. To the extent a debtor rejects an unexpired lease of

 5   nonresidential real property, the Claim for damages resulting from such rejection will be

 6   limited to the amount allowed under the Bankruptcy Code.

 7          Upon assumption of an executory contract or unexpired lease, debtors must cure or

 8   provide adequate assurance of prompt cure of any monetary defaults. The Plan provides that

 9   Reorganized Debtors will promptly cure all monetary defaults.

10          E.      EFFECT OF CONFIRMATION

11                  1.       Binding Effect

12          The treatment of, and consideration received by, holders of Allowed Claims and

13   Interests pursuant to the Plan will be in full satisfaction of their respective Claims against or

14   Interests in Debtors. The Confirmation Order shall bind Debtors and any Creditor, and

15   discharge Debtors from any liability that arose before the Effective Date as provided in

16   Sections 524 and 1141 of the Bankruptcy Code, and any debt and liability of a kind specified

17   in Sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, whether or not (a) a proof of

18   claim based on such Creditor’s debt or liability is Filed or deemed Filed under Section 501 of

19   the Bankruptcy Code, (b) a Claim based on such debt or liability is Allowed, or (c) the holder

20   of the Claim based on such debt or liability has accepted the Plan.

21                  2.       Revesting, Operation of Business

22          All property of the bankruptcy estates shall revest in each respective Reorganized

23   Debtor on the Effective Date free and clear of all rights, claims, liens, charges,

24   encumbrances, and interests, except as otherwise specifically provided in the Plan. Except as

25   otherwise set forth in the Plan, there are no limitations or restrictions on the post-

26   confirmation activities or operations of Debtors.

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 1                  3.       Injunction

 2          The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy

 3   Code. Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in

 4   the Confirmation Order, confirmation of the Plan shall act as a permanent injunction

 5   applicable to entities against (a) the commencement or continuation, including the issuance

 6   or employment of process, of a judicial, administrative, or other action or proceeding of any

 7   kind against Debtors or Reorganized Debtors that was or could have been commenced before

 8   entry of the Confirmation Order; (b) the enforcement, attachment, collection, or recovery

 9   against Reorganized Debtors or their assets of any judgment, award, decree, or order

10   obtained before the Petition Date; (c) any act to obtain possession of or to exercise control

11   over, or to create, perfect, or enforce a lien upon all or any part of the assets of Reorganized

12   Debtors; (d) asserting any setoff or right of subrogation or recoupment of any kind against

13   any obligation due to Debtors, Reorganized Debtors, or their property; and (e) proceeding in

14   any manner in any place whatsoever that does not conform to, does not comply with, or is

15   inconsistent with the provisions of the Plan or the Confirmation Order. Neither the

16   injunction nor any provision of the Plan prohibits or otherwise overrides the Stipulated Relief

17   From Stay Order which allows the Marion County Case to proceed to completion in state

18   court, including all appeals.

19                  4.       Event of Default

20          Any material failure by Reorganized Debtors to perform any term of the Plan, which

21   failure continues for a period of 15 Business Days following receipt by Reorganized Debtors

22   of written notice of such default from the holder of an Allowed Claim to whom performance

23   is due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the

24   holder of an Allowed Claim to whom performance is due shall have all rights and remedies

25   granted by law, the Plan, or any agreement between the holder of such Claim and Debtors or

26

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 1   Reorganized Debtors. An Event of Default with respect to one Claim shall not be an Event

 2   of Default with respect to any other Claim.

 3                   5.       Modification of Plan; Revocation or Withdrawal of Plan

 4           Subject to Section 1127 of the Bankruptcy Code, Debtors reserve the right to alter,

 5   amend, modify, or withdraw the Plan before its substantial consummation so long as the

 6   treatment of holders of Claims and Equity Security Holders under the Plan are not adversely

 7   affected.

 8                   6.       Retention of Jurisdiction

 9           Notwithstanding entry of the Confirmation Order, the Court shall retain jurisdiction

10   of this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

11   Bankruptcy Code and:

12                            (a)    to classify the Claim or interest of any Creditor or stockholder,

13   reexamine Claims or Interests which have been owed for voting purposes, and determine any

14   objections that may be Filed to Claims or Interests;

15                            (b)    to determine requests for payment of Claims entitled to priority

16   under Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement

17   of expenses in favor of professionals employed at the expense of the Estates;

18                            (c)    to avoid liens, transfers, or obligations, or to subordinate

19   Claims under Chapter 5 of the Bankruptcy Code;

20                            (d)    to approve the assumption, assignment, or rejection of an

21   executory contract or an unexpired lease pursuant to this Plan;

22                            (e)    to resolve controversies and disputes regarding the

23   interpretation of this Plan;

24                            (f)    to implement the provisions of this Plan and enter orders in aid

25   of confirmation;

26

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 1                           (g)    to adjudicate adversary proceedings and contested matters

 2   pending or hereafter commenced in this Chapter 11 Case; and

 3                           (h)    to enter a final decree closing this Chapter 11 proceeding.

 4                  7.       United States Trustee Fees

 5          Fees payable by Debtors under 28 U.S.C. § 1930, or to the Clerk of the Bankruptcy

 6   Court, will be paid in full in Cash on the Effective Date. All quarterly fees due to the United

 7   States Trustee pursuant to 28 USC § 1930(a), including fees due for any partial quarter,

 8   accruing after the Effective Date shall be paid by the Reorganized Debtors as and when they

 9   become due and will be based on the Reorganized Debtors’ total disbursements, including

10   ordinary course of business disbursements as well as disbursements made to Claimants under

11   this Plan. Such fee obligations will not terminate until this Case is converted or dismissed, or

12   until this Case is no longer pending upon entry of a Final Order closing this Case, whichever

13   first occurs, and all United States Trustee fees, including any such fees accrued in any partial

14   quarter, shall be paid as a condition precedent prior to entry of an order closing the

15   case. After the Effective Date, the Reorganized Debtors shall file with the Court a post-

16   confirmation monthly financial report for each month, or portion thereof, that the case is

17   open or during any period of time that the case is reopened. The monthly financial report

18   shall include a statement of all disbursements made during the course of the month, whether

19   or not pursuant to the Plan. All United States Trustee fees, including any such fees accrued

20   in any partial quarter, shall also be paid as a condition precedent prior to entry of a Final

21   Decree.

22   VIII. LIQUIDATION ANALYSIS

23          A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that

24   the Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security

25   in, Debtors subject to such plan. The best interest test is satisfied if a plan provides each

26   dissenting or non-voting member of each impaired Class with a recovery not less than the

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 1   recovery such member would receive if each Debtor was liquidated in a hypothetical case

 2   under Chapter 7 of the Bankruptcy Code by a Chapter 7 Trustee. Debtors believe the holders

 3   of impaired Claims will not receive less than they would receive under a Chapter 7

 4   liquidation. In applying the “best interest” test, the Bankruptcy Court would ascertain the

 5   hypothetical recovery in a Chapter 7 proceeding to Secured Creditors, priority claimants,

 6   General Unsecured Creditors, and Equity Interest Holders. The hypothetical Chapter 7

 7   recoveries would then be compared with the distribution offered to each Class of Claims or

 8   Equity Security Holders under the Plan to determine that the Plan satisfied the “best interest”

 9   test set forth in the Bankruptcy Code.

10          A Chapter 7 liquidation of B. & J.’s case would result in the immediate cessation of

11   B. & J.’s operations. Substantially all assets would be liquidated and distributed to the

12   Secured Creditors, with Columbia Credit Union likely realizing its full $2,225,037 secured

13   claim amount plus default interest, costs, and fees, and the remaining General Unsecured,

14   Litigation, and Equity Classes realizing less than the amount proposed under the Plan.

15          A Chapter 7 liquidation of Berman’s case would result in the immediate cessation of

16   Berman’s primary source of income. Berman’s non-exempt assets would be liquidated and

17   approximately $43,703.33 would be available for distribution to all creditors, including

18   Columbia’s $2,225,037 claim on Berman’s personal guaranty. Calculations for a

19   hypothetical Berman liquidation are set forth on the Liquidation Analysis attached hereto as

20   Exhibit 3. The amount available in a Berman liquidation is less than the Berman Unsecured

21   Claims Fund, and thus General Unsecured, Class Action, and Equity Classes would receive

22   less in a Chapter 7 than the amount proposed under the Plan.

23   IX.    POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

24          CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE

25   PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR

26   OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

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 1          The following discussion summarizes in general terms certain federal income tax

 2   consequences of implementation of the Plan based upon existing provisions of the Internal

 3   Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and

 4   current administrative rulings and practice. This summary does not address the federal

 5   income tax consequences of the Plan to holders of priority or secured claims, nor does it

 6   address any state, local, or foreign tax matters, or the federal income tax consequences to

 7   certain types of creditors (including financial institutions, life insurance companies, tax

 8   exempt organizations, and foreign taxpayers) to which special rules may apply. No rulings

 9   or opinions have been or will be requested from the Internal Revenue Service with respect to

10   any of the tax aspects of the Plan.

11          THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE

12   PLAN TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are

13   likely to be encountered by creditors because of the difference in the nature of their Claims,

14   taxpayer status, method of accounting, and the impact of prior actions they may have taken

15   with respect to their Claims.

16          The following are the anticipated tax consequences of the Plan.

17          A.      TAX CONSEQUENCES TO DEBTORS

18          Debtors do not anticipate any extraordinary or unusual tax consequences because all

19   claims are expected to be paid in full. Debtors will experience ordinary income from

20   continued operations and earnings, and will be entitled to deduct business expenses for any

21   business related and interest expenses. Debtors do not anticipate any cancellation of debt

22   income. In the event B. & J. sells its real property, B. & J. shall pay any applicable capital

23   gains taxes that result from the sale.

24          B.      GENERAL TAX CONSEQUENCES ON CREDITORS

25          Creditors will likely not experience any unusual or extraordinary tax consequence

26   following Confirmation of the Plan. Payments will be treated in the same manner as they

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 1   were treated before Confirmation of the Plan. As discussed above, the effect of the Plan on

 2   specific creditors will depend on specific financial information relative to such creditor and

 3   that is unknown to Debtors. As a result, the tax implications to specific creditors cannot be

 4   completely described herein.

 5          EACH HOLDER IS URGED TO CONSULT SUCH HOLDER’S OWN TAX

 6   ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO SUCH HOLDER UNDER

 7   FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN TAX LAWS.

 8   DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE TAX

 9   CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY CLAIMANT.

10   X.     ACCEPTANCE AND CONFIRMATION OF THE PLAN

11          A.      CONFIRMATION HEARING

12          The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on

13   _______________, 2019 at ____.m Pacific time. The hearing will be held at the

14   U.S. Bankruptcy Court for the District of Oregon, 1050 SW Sixth Avenue, #700, Portland,

15   Oregon in Courtroom No. _____, before the Honorable ________________, United States

16   Bankruptcy Judge. At that hearing, the Bankruptcy Court will consider whether the Plan

17   satisfies the various requirements of the Bankruptcy Code, including whether it is feasible

18   and whether it is in the best interest of Creditors and Equity Security Holders of Debtors.

19   Debtors will submit a report to the Bankruptcy Court prior to the hearing concerning the

20   votes for acceptance or rejection of the Plan by the parties entitled to vote thereon. Any

21   objection to confirmation of the Plan must be timely filed on or before _______________,

22   2019 to be considered by the Court.

23          B.      REQUIREMENTS OF CONFIRMATION

24          At the hearing on confirmation, the Bankruptcy Court will determine whether the

25   provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the

26   provisions of Section 1129 are met, the Bankruptcy Court may enter an order confirming the

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 1   Plan. Debtor believes the Plan satisfies all the requirements of Chapter 11 of the Bankruptcy

 2   Code, that it has complied or will have complied with all of the requirements of Chapter 11,

 3   and that the Plan has been proposed and is made in good faith.

 4          With respect to Berman’s Plan, the “Absolute Priority Rule” will apply in the event

 5   that all of the following occur: (1) Debtors are unsuccessful on their appeal, (2) the Class

 6   Action Creditors do not accept the Plan, (3) the Class Action Claims are not fully paid by

 7   B. & J., and (4) the remainder of the Class Action Claims are not paid in full from the

 8   Berman Unsecured Claims Fund. The Absolute Priority Rule provides that unsecured

 9   creditors in a dissenting impaired class must be satisfied in full before the debtor is allowed

10   to retain any property under the plan. In Berman’s case, Berman proposes to retain

11   approximately $97,665.13 of non-exempt property. Specifically, the non-exempt portion of

12   equity in his residence, and the amount of cash Berman held on hand and in his checking

13   account on the Petition Date. In the event the Absolute Priority Rule applies, Berman

14   proposes to obtain a loan from family or from a financial institution to pay the Class Action

15   Claims the lesser of $98,000, or the amount needed to pay the remaining balance of the Class

16   Action ClaiMs. See Section 7.7 of the Plan.

17          C.      CRAMDOWN

18          A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the

19   Plan has been accepted by at least one impaired class of claims and the Plan meets the

20   cramdown requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event

21   any impaired Class of Claims does not accept the Plan, Debtor hereby requests the

22   Bankruptcy Court to confirm the Plan in accordance with Section 1129(b) of the Bankruptcy

23   Code or otherwise permit Debtors to modify the Plan.

24          D.      FEASIBILITY

25          Debtors believe that confirmation of the Plan is not likely to be followed by the

26   liquidation of either of the Reorganized Debtors or a need for a further financial

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 1   reorganization of Reorganized Debtors. The projections of B. & J.’s post-confirmation

 2   business, attached hereto as Exhibit 1, show sufficient earnings and cash flow from

 3   operations to support and meet the ongoing financial needs of Reorganized B. & J. The

 4   projections indicate that the Plan as proposed by Debtors is feasible and that Reorganized

 5   Debtors will be financially viable after confirmation of the Plan or B. & J. shall liquidate.

 6   The ultimate payout to the Class Action Creditors will be dependent on the result of the state

 7   court appeals. If the Class Action Creditors prevail in full, then the likely result is that

 8   B. & J. will be liquidated. The Plan provides for such a liquidation and, as such, it is feasible

 9   even if Debtors do not prevail on the appeal.

10          E.      CONFIRMATION REQUIREMENTS FOR INDIVIDUAL DEBTOR

11          To confirm the Plan, the Court must find that “the value of the property to be

12   distributed under the plan is not less than the projected disposable income of Debtor (as

13   defined in Section 1325(b)(2)) to be received during the five-year period beginning on the

14   date the first payment is due under the Plan, or during the period for which the Plan provides

15   payments, whichever is longer.” 11 U.S.C. § 1129(a)(15)(B). The Plan proposes to pay

16   Berman’s creditors from the Berman Unsecured Claims Fund, which will be funded with

17   Berman’s projected disposable income (as defined in Section 1325(b)(2)) to be received by

18   Berman during the five-year period beginning on the Effective Date. See Exhibit 2, attached

19   hereto. The Plan therefore complies with Section 1129(a)(15)(B).

20          F.      ALTERNATIVES TO CONFIRMATION OF THE PLAN

21          If a Plan is not confirmed, Debtors or another party-in-interest may attempt to

22   formulate or propose a different Plan or Plans of Reorganization. Such Plans might involve a

23   reorganization and continuation of B. & J.’s business, a sale of B. & J.’s business as a going

24   concern, an orderly liquidation of B. & J.’s assets, or any combination thereof. If no Plan of

25   Reorganization is determined by the Bankruptcy Court to be confirmable, the Chapter 11

26   case may be converted to a liquidation proceeding under Chapter 7 of the Bankruptcy Code.

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 1          In a liquidation, a Chapter 7 Trustee would be appointed with the purpose of

 2   liquidating the assets of Debtors. Typically, in liquidation, assets are sold for less than their

 3   going concern value and, accordingly, the return to Creditors and Interest holders is less than

 4   the return in a reorganization, which derives the value to be distributed in a Plan from the

 5   business as a going concern. Proceeds from liquidation would be distributed to Creditors and

 6   Interest holders of Debtors in accordance with the priorities set forth in the Bankruptcy Code.

 7          Debtors believe there is no currently available alternative that would offer holders of

 8   Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on

 9   the Plan to vote to accept the Plan.

10   XI.    CONCLUSION

11          Please read this Disclosure Statement and the Plan carefully. After reviewing all the

12   information and making an informed decision, please vote by using the enclosed ballot.

13          DATED this 8th day of October, 2019.

14                                                       Respectfully submitted,
15                                                       B. & J. PROPERTY INVESTMENTS, INC.
16

17                                                       By /s/ William J. Berman
                                                            William J. Berman, President
18

19
                                                         By /s/ William J. Berman
20                                                          William J. Berman, Personally
21

22

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     Presented by:
 1
     TONKON TORP LLP
 2
 3
     By /s/ Timothy J. Conway
 4      Timothy J. Conway, OSB No. 851752
        Ava L. Schoen, OSB No. 044072
 5      888 S.W. Fifth Avenue, Suite 1600
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 8      Attorneys for B. & J. Property Investments, Inc.
 9   MOTSCHENBACHER & BLATTNER, LLP
10

11   By /s/ Nicholas J. Henderson
        Nicholas J. Henderson, OSB No. 074027
12      Telephone: (503) 417-0508
        Facsimile: (503) 417-0528
13      Email:         nhenderson@portlaw.com
        Attorneys for William J. Berman
14

15
     EXHIBITS ATTACHED:
16
     Exhibit 1:        B. & J. Financial Projections
17   Exhibit 2:        Berman Projected Disposable Income Calculation
     Exhibit 3:        Berman Liquidation Analysis
18

19   038533/00002/10363069v6

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      EXHIBIT 1
B. & J. FINANCIAL PROJECTIONS




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                                                          B&J Property Investments Budget Forecast 2019
                                                                             Jul‐19    Aug‐19 Sep‐19       Oct‐19     Nov‐19 Dec‐19 TOTALS
                                                INCOME
                                                   R.V. SPACE RENTS          $66,754   $66,754   $66,754 $66,754 $66,754 $66,754 $400,524
                                                   SPACE ELECTRIC             $8,000    $8,000    $8,000  $8,000 $8,000 $8,000 $48,000
                                                   MINI STORAGE RENTS        $18,375   $18,375   $18,375 $18,375 $18,375 $18,375 $110,250
                                                   STORE INCOME                $325      $325      $325    $325    $325    $325    $1,950
                                                                             $93,454   $93,454   $93,454 $93,454 $93,454 $93,454 $560,724
                                                EXPENSES
                                                   STORAGE RENT/DEP REFUND       $70       $70       $70        $70       $70       $70      $420
                                                   RV RENT/DEP REFUND          $180      $180      $180       $180      $180      $180      $1,080
                                                   SPACE ELECTRICITY          $9,300    $9,300    $9,300     $9,300    $9,300    $9,300    $55,800
                                                   MISC                        $554      $554      $554       $554      $554      $554      $3,321
                                                   FACILITY ELECTRICITY        $604      $604      $604       $604      $604      $604      $3,622
                                                   NW GAS                      $330      $330      $330       $330      $330      $330      $1,979
                                                   WATER/SEWER                $2,796    $2,796    $2,796     $2,796    $2,796    $2,796    $16,779
                                                   CABEL TV                   $3,134    $3,134    $3,134     $3,134    $3,134    $3,134    $18,807
                                                   TELEPHONE                   $400      $400      $400       $400      $400      $400      $2,400
                                                   TELEPHONE AD                $298      $298      $298       $298      $298      $298      $1,790
                                                   GARBAGE                    $2,346    $2,346    $2,346     $2,346    $2,346    $2,346    $14,076




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                                                   OFFICE SUPPLY               $273      $273      $273       $273      $273      $273      $1,635
                                                   SCREENINGS                  $132      $132      $132       $132      $132      $132       $790
                                                   MAINTENANCE                $1,121    $1,121    $1,121     $1,121    $1,121    $1,121     $6,728
                                                   ADS                            $6        $6        $6         $6        $6        $6        $34
                                                   FREIGHT/POSTAGE                $0        $0        $0         $0        $0        $0         $0




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                                                   RECREATION                  $145      $145      $145       $145      $145      $145       $870
                                                   STORE STOCK                 $200      $200      $200       $200      $200      $200      $1,200
                                                   MANAGEMENT FEES           $29,000   $29,000   $29,000    $29,000   $29,000   $29,000   $174,000
                                                   MEDICAL                    $3,503    $3,503    $3,503     $3,503    $3,503    $3,503    $21,017
                                                   AUTO                        $350      $350      $350       $350      $350      $350      $2,100
                                                                                                                                                     Exhibit 1 - B. & J. Financial Projections




                                                   LEGAL/ACCOUNTING           $2,000    $2,000    $2,000     $2,000    $2,000    $2,000    $12,000
                                                   INSURANCE                      $0        $0        $0    $14,000        $0        $0    $14,000
                                                   CAPITAL IMPROVEMENTS           $0   $15,000        $0         $0        $0        $0    $15,000




Filed 10/09/19
                                                   CONTINGENCY FUND           $7,300    $7,300    $7,300     $7,300    $7,300    $7,300    $43,800
                                                   PROPERTY TAXES                 $0        $0        $0    $64,000        $0        $0    $64,000
                                                                             64,041    79,041    64,041    142,041    64,041    64,041    477,247

                                                SECURED LENDER               $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $84,481

                                                                             $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $84,481

                                                TOTAL OPERATING EXPENSES     $78,121 $93,121 $78,121 $156,121 $78,121 $78,121 $561,728




                      Exhibit 1 - Page 1 of 3
                                                OPERATING INCOME             $15,333     $333 $15,333 ‐$62,667 $15,333 $15,333             ‐$1,004
                                                                                 B&J Property Investments Budget Forecast 2020
                                                                              Jan‐20    Feb‐20 Mar‐20 Apr‐20 May‐20 Jun‐20                Jul‐20   Aug‐20   Sep‐20   Oct‐20   Nov‐20 Dec‐20     TOTALS
                                                INCOME
                                                    R.V. SPACE RENTS          $66,754   $66,754   $66,754   $66,754   $66,754   $68,089   $72,135 $72,135 $72,135 $72,135 $72,135     $72,135 $834,669
                                                    SPACE ELECTRIC             $8,000    $8,000    $8,000    $8,000    $8,000    $8,160    $8,160 $8,160 $8,160 $8,160 $8,160          $8,160    $97,120
                                                    MINI STORAGE RENTS        $18,375   $18,375   $18,375   $18,375   $18,375   $18,375   $18,375 $18,375 $18,375 $18,375 $18,375     $18,375 $220,500
                                                    STORE INCOME                $325      $325      $325      $325      $325      $325      $325    $325    $325    $325    $325        $325      $3,900
                                                                              $93,454   $93,454   $93,454   $93,454   $93,454   $94,949   $98,995 $98,995 $98,995 $98,995 $98,995     $98,995 $1,156,189

                                                EXPENSES
                                                    STORAGE RENT/DEP REFUND       $70       $71       $71       $71       $71       $71       $71      $71     $71      $71     $71       $71      $855
                                                    RV RENT/DEP REFUND          $180      $184      $184      $184      $184      $184      $184     $184    $184     $184    $184      $184      $2,200
                                                    SPACE ELECTRICITY          $9,300    $9,300    $9,300    $9,300    $9,300    $9,486    $9,486 $9,486 $9,486 $9,486 $9,486          $9,486   $112,902
                                                    MISC                        $554      $565      $565      $565      $565      $565      $565     $565    $565     $565    $565      $565      $6,765
                                                    FACILITY ELECTRICITY        $604      $616      $616      $616      $616      $616      $616     $616    $616     $616    $616      $616      $7,377
                                                    NW GAS                      $330      $336      $336      $336      $336      $336      $336     $336    $336     $336    $336      $336      $4,030
                                                    WATER/SEWER                $2,796    $2,852    $2,852    $2,852    $2,852    $2,852    $2,852 $2,852 $2,852 $2,852 $2,852          $2,852    $34,172
                                                    CABEL TV                   $3,134    $3,197    $3,197    $3,197    $3,197    $3,197    $3,197 $3,197 $3,197 $3,197 $3,197          $3,197    $38,303
                                                    TELEPHONE                   $400      $408      $408      $408      $408      $408      $408     $408    $408     $408    $408      $408      $4,888
                                                    TELEPHONE AD                $298      $304      $304      $304      $304      $304      $304     $304    $304     $304    $304      $304      $3,645




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                                                    GARBAGE                    $2,346    $2,393    $2,393    $2,393    $2,393    $2,393    $2,393 $2,393 $2,393 $2,393 $2,393          $2,393    $28,668
                                                    OFFICE SUPPLY               $273      $278      $278      $278      $278      $278      $278     $278    $278     $278    $278      $278      $3,331
                                                    SCREENINGS                  $132      $134      $134      $134      $134      $134      $134     $134    $134     $134    $134      $134      $1,609
                                                    MAINTENANCE                $1,121    $1,144    $1,144    $1,144    $1,144    $1,144    $1,144 $1,144 $1,144 $1,144 $1,144          $1,144    $13,702
                                                    ADS                            $6        $6        $6        $6        $6        $6        $6       $6      $6       $6      $6        $6        $69
                                                    FREIGHT/POSTAGE                $0        $0        $0        $0        $0        $0        $0       $0      $0       $0      $0        $0         $0




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                                                    RECREATION                  $145      $148      $148      $148      $148      $148      $148     $148    $148     $148    $148      $148      $1,772
                                                    STORE STOCK                 $200      $204      $204      $204      $204      $204      $204     $204    $204     $204    $204      $204      $2,444
                                                    MANAGEMENT FEES           $29,000   $29,580   $29,580   $29,580   $29,580   $29,580   $29,580 $29,580 $29,580 $29,580 $29,580     $29,580   $354,380
                                                    MEDICAL                    $3,503    $3,503    $4,028    $4,028    $4,028    $4,028    $4,028 $4,028 $4,028 $4,028 $4,028          $4,028    $47,288
                                                    AUTO                        $350      $357      $357      $357      $357      $357      $357     $357    $357     $357    $357      $357      $4,277
                                                                                                                                                                                                           Exhibit 1 - B. & J. Financial Projections




                                                    LEGAL/ACCOUNTING           $2,000    $2,000    $2,000    $2,000    $2,000    $2,000    $2,000 $2,000 $2,000 $2,000 $2,000          $2,000    $24,000
                                                    INSURANCE                      $0        $0        $0        $0        $0        $0        $0       $0      $0 $14,500       $0        $0    $14,500
                                                    CAPITAL IMPROVEMENTS           $0        $0        $0        $0        $0        $0        $0 $85,000       $0       $0      $0        $0    $85,000




Filed 10/09/19
                                                    CONTINGENCY FUND           $8,800    $8,800    $8,800    $8,800    $8,800    $8,800    $8,800 $8,800 $8,800 $8,800 $8,800          $8,800   $105,600
                                                    PROPERTY TAXES                 $0        $0        $0        $0        $0        $0        $0       $0      $0 $66,000       $0        $0    $66,000
                                                                              $65,541   $66,380   $66,905   $66,905   $66,905   $67,091   $67,091 $152,091 $67,091 $147,591 $67,091   $67,091   $967,777

                                                SECURED LENDER                $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080                   $168,962

                                                                              $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080                   $168,962

                                                TOTAL OPERATING EXPENSES      $79,621 $80,460 $80,985 $80,985 $80,985 $81,171 $81,171 $166,171 $81,171 $161,671 $81,171 $81,171 $1,136,738




                      Exhibit 1 - Page 2 of 3
                                                OPERATING INCOME              $13,833 $12,994 $12,469 $12,469 $12,469 $13,778 $17,824 ‐$67,176 $17,824 ‐$62,676 $17,824 $17,824                  $19,451
                                                                                      B&J Property Investments Budget Forecast 2021
                                                                             Jan‐21    Feb‐21 Mar‐21 Apr‐21        May‐21   Jun‐21    Jul‐21   Aug‐21   Sep‐21   Oct‐21   Nov‐21   Dec‐21   TOTALS
                                                INCOME
                                                   R.V. SPACE RENTS          $72,135   $72,135   $72,135   $72,135 $72,135 $73,578 $73,578 $73,578 $73,578 $73,578 $73,578 $73,578 $875,719
                                                   SPACE ELECTRIC             $8,160    $8,160    $8,160    $8,160 $8,160 $8,323 $8,323 $8,323 $8,323 $8,323 $8,323 $8,323                   $99,062
                                                   MINI STORAGE RENTS        $18,375   $18,375   $18,375   $18,375 $18,375 $18,743 $18,743 $18,743 $18,743 $18,743 $18,743 $18,743 $223,073
                                                   STORE INCOME                $325      $325      $325      $325    $325     $325     $325     $325     $325     $325     $325     $325      $3,900
                                                                             $98,995   $98,995   $98,995   $98,995 $98,995 $100,968 $100,968 $100,968 $100,968 $100,968 $100,968 $100,968 $1,201,754

                                                EXPENSES
                                                   STORAGE RENT/DEP REFUND       $71       $73       $73       $73     $73     $73     $73      $73     $73      $73     $73     $73      $873
                                                   RV RENT/DEP REFUND          $184      $187      $187      $187    $187    $187    $187     $187    $187     $187    $187    $187      $2,244
                                                   SPACE ELECTRICITY          $9,486    $9,486    $9,486    $9,486 $9,486 $9,676 $9,676 $9,676 $9,676 $9,676 $9,676 $9,676 $115,160
                                                   MISC                        $565      $576      $576      $576    $576    $576    $576     $576    $576     $576    $576    $576      $6,900
                                                   FACILITY ELECTRICITY        $616      $628      $628      $628    $628    $628    $628     $628    $628     $628    $628    $628      $7,525
                                                   NW GAS                      $336      $343      $343      $343    $343    $343    $343     $343    $343     $343    $343    $343      $4,110
                                                   WATER/SEWER                $2,852    $2,909    $2,909    $2,909 $2,909 $2,909 $2,909 $2,909 $2,909 $2,909 $2,909 $2,909              $34,856
                                                   CABEL TV                   $3,197    $3,261    $3,261    $3,261 $3,261 $3,261 $3,261 $3,261 $3,261 $3,261 $3,261 $3,261              $39,069
                                                   TELEPHONE                   $408      $416      $416      $416    $416    $416    $416     $416    $416     $416    $416    $416      $4,986
                                                   TELEPHONE AD                $304      $310      $310      $310    $310    $310    $310     $310    $310     $310    $310    $310      $3,718




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                                                   GARBAGE                    $2,393    $2,441    $2,441    $2,441 $2,441 $2,441 $2,441 $2,441 $2,441 $2,441 $2,441 $2,441              $29,242
                                                   OFFICE SUPPLY               $278      $284      $284      $284    $284    $284    $284     $284    $284     $284    $284    $284      $3,397
                                                   SCREENINGS                  $134      $137      $137      $137    $137    $137    $137     $137    $137     $137    $137    $137      $1,641
                                                   MAINTENANCE                $1,144    $1,167    $1,167    $1,167 $1,167 $1,167 $1,167 $1,167 $1,167 $1,167 $1,167 $1,167              $13,976
                                                   ADS                            $6        $6        $6        $6      $6      $6      $6       $6      $6       $6      $6      $6        $70
                                                   FREIGHT/POSTAGE                $0        $0        $0        $0      $0      $0      $0       $0      $0       $0      $0      $0         $0




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                                                   RECREATION                  $148      $151      $151      $151    $151    $151    $151     $151    $151     $151    $151    $151      $1,807
                                                   STORE STOCK                 $204      $208      $208      $208    $208    $208    $208     $208    $208     $208    $208    $208      $2,493
                                                   MANAGEMENT FEES           $29,580   $30,172   $30,172   $30,172 $30,172 $30,172 $30,172 $30,172 $30,172 $30,172 $30,172 $30,172 $361,468
                                                   MEDICAL                    $4,028    $4,028    $4,632    $4,632 $4,632 $4,632 $4,632 $4,632 $4,632 $4,632 $4,632 $4,632              $54,378
                                                   AUTO                        $357      $364      $364      $364    $364    $364    $364     $364    $364     $364    $364    $364      $4,363
                                                                                                                                                                                                       Exhibit 1 - B. & J. Financial Projections




                                                   LEGAL/ACCOUNTING           $2,000    $2,000    $2,000    $2,000 $2,000 $2,000 $2,000 $2,000 $2,000 $2,000 $2,000 $2,000              $24,000
                                                   INSURANCE                      $0        $0        $0        $0      $0      $0      $0       $0      $0 $15,000       $0      $0    $15,000
                                                   CAPITAL IMPROVEMENTS           $0        $0        $0        $0 $20,000      $0      $0 $90,000       $0       $0      $0      $0 $110,000




Filed 10/09/19
                                                   CONTINGENCY FUND           $9,200    $9,200    $9,200    $9,200 $9,200 $9,200 $9,200 $9,200 $9,200 $9,200 $9,200 $9,200 $110,400
                                                   PROPERTY TAXES                 $0        $0        $0        $0      $0      $0      $0       $0      $0 $67,980       $0      $0    $67,980
                                                                             $67,491   $68,347   $68,951   $68,951 $88,951 $69,141 $69,141 $159,141 $69,141 $152,121 $69,141 $69,141 $1,019,654

                                                SECURED LENDER               $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080                $168,962

                                                                             $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080 $14,080                $168,962

                                                TOTAL OPERATING EXPENSES     $81,571 $82,427 $83,031 $83,031 $103,031 $83,221 $83,221 $173,221 $83,221 $166,201 $83,221 $83,221 $1,188,616




                      Exhibit 1 - Page 3 of 3
                                                OPERATING INCOME             $17,424 $16,568 $15,964 $15,964        ‐$4,036 $17,748 $17,748 ‐$72,252 $17,748 ‐$65,232 $17,748 $17,748        $13,138
       EXHIBIT 2
      BERMAN PROJECTED
DISPOSABLE INCOME CALCULATION




     Case 19-60138-pcm11   Doc 246   Filed 10/09/19
                                               Exhibit 2 - Berman Projected Disposable Income Calculation


 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              William John Berman                                                                     According to the calculations required by this
                                                                                                               Statement:
 Debtor 2                                                                                                       1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of Oregon                                              2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number           19-60230-pcm11
 (if known)
                                                                                                                3. The commitment period is 3 years.
                                                                                                                    4. The commitment period is 5 years.

                                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            6,400.00       $         6,400.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                              0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                                 Debtor 1
     Gross receipts (before all deductions)                                $      0.00
        Ordinary and necessary operating expenses                          -$    0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $               0.00
  6. Net income from rental and other real property                      Debtor 1
     Gross receipts (before all deductions)                                $      0.00
        Ordinary and necessary operating expenses                          -$    0.00
        Net monthly income from rental or other real property              $     0.00 Copy here -> $                  0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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                                                                                                                          Exhibit 2, Page 1 of 10

                                            Case 19-60138-pcm11                          Doc 246           Filed 10/09/19
                                               Exhibit 2 - Berman Projected Disposable Income Calculation
 Debtor 1     William John Berman                                                                                Case number (if known)    19-60230-pcm11


                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Air Force Separation Pay                                                                   $            1,243.00         $           0.00
                                                                                                             $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         7,643.00          +$          6,400.00    =$         14,043.00

                                                                                                                                                               Total average
                                                                                                                                                               monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                             $         14,043.00
  13. Calculate the marital adjustment. Check one:
        You are not married. Fill in 0 below.
        You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                     Non-filing spouse's expenses, retirement, insurance,
                     health svgs, debt pmts                                                         $             1,800.00
                                                                                                    $
                                                                                                    $

                     Total                                                                        $               1,800.00           Copy here=>           -          1,800.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                      $         12,243.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                       $         12,243.00

                Multiply line 15a by 12 (the number of months in a year).                                                                                      x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................             $        146,916.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                  page 2
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                                                                                                                                    Exhibit 2, Page 2 of 10

                                            Case 19-60138-pcm11                         Doc 246                  Filed 10/09/19
                                               Exhibit 2 - Berman Projected Disposable Income Calculation
 Debtor 1     William John Berman                                                                   Case number (if known)   19-60230-pcm11


  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                           OR

       16b. Fill in the number of people in your household.                  2
       16c. Fill in the median family income for your state and size of household.                                                          $     66,745.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                        11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.            Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                        your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                          $               14,043.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                         -$                  1,800.00


       19b. Subtract line 19a from line 18.                                                                                             $         12,243.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                   $     12,243.00

              Multiply by 12 (the number of months in a year).                                                                                  x 12

       20b. The result is your current monthly income for the year for this part of the form                                                $    146,916.00




       20c. Copy the median family income for your state and size of household from line 16c                                                $     66,745.00


       21. How do the lines compare?

               Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                      period is 3 years. Go to Part 4.

                     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                      commitment period is 5 years. Go to Part 4.




Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                  page 3
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                                            Case 19-60138-pcm11                    Doc 246          Filed 10/09/19
                                               Exhibit 2 - Berman Projected Disposable Income Calculation


 Fill in this information to identify your case:

 Debtor 1            William John Berman

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Oregon

 Case number         19-60230-pcm11
 (if known)                                                                                                  Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    2
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $          1,202.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                       page 1
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                                               Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1         William John Berman                                                               Case number (if known)      19-60230-pcm11


    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person             $             52

            7b. Number of people who are under 65                          X         2

            7c. Subtotal. Multiply line 7a by line 7b.                     $       104.00            Copy here=>        $           104.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person             $          114

            7e. Number of people who are 65 or older                       X         0

            7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00


            7g. Total. Add line 7c and line 7f                                                $     104.00                   Copy total here=> $         104.00



    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
     Housing and utilities - Insurance and operating expenses
     Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               551.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                   $        1,202.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                   Name of the creditor                                        Average monthly
                                                                               payment

                   Quicken Loans Inc.                                          $         2,850.00

                                                                                                     Copy                                       Repeat this amount
                                    9b. Total average monthly payment          $         2,850.00    here=>        -$               2,850.00 on line 33a.

            9c. Net mortgage or rent expense.

                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                   or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $              0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $               0.00

             Explain why:




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                  page 2
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                                               Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1     William John Berman                                                                                Case number (if known)   19-60230-pcm11

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

             0. Go to line 14.
             1. Go to line 12.
             2 or more. Go to line 12.

    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             436.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:

    13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment

                 -NONE-                                                            $

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $                 0.00         here =>       -$           0.00     line 33b.



    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if the numbert is less than $0, enter $0. ...................                                       expense here
                                                                                                                       $              0.00       =>              $             0.00


     Vehicle 2         Describe Vehicle 2:

    13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                 -NONE-                                                            $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                 0.00                                 0.00    33c.
                                                                                                                  =>       -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $              0.00       =>              $             0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00



Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                 page 3
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                                               Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1       William John Berman                                                                   Case number (if known)   19-60230-pcm11

    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                 $          2,800.00
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.             $                0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                               $            500.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $                0.00
    20. Education: The total monthly amount that you pay for education that is either required:
             as a condition for your job, or
             for your physically or mentally challenged dependent child if no public education is available for similar services.       $                0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                        $                0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                       $            296.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                      +$            330.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                               $        6,219.00
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                               $          0.00
            Disability insurance                                           $          0.00
            Health savings account                                       +$        500.00

            Total                                                          $         500.00       Copy total here=>                     $             500.00

            Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                    $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).                                            $                0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                       $                0.00

Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                            page 4
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                                               Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1     William John Berman                                                                              Case number (if known)   19-60230-pcm11
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs.
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                              $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                     $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                            $               39.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

            Do not include any amount more than 15% of your gross monthly income.                                                                    $                 0.00

    32. Add all of the additional expense deductions.                                                                                                $          539.00
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                             Average monthly
                                                                                                                                                 payment
    33a.      Copy line 9b here                                                                                                             =>   $           2,850.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                            =>   $                0.00
    33c.      Copy line 13e here                                                                                                            =>   $                0.00
    33d. List other secured debts
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                  No
             -NONE-                                                                                                               Yes           $


                                                                                                                                  No
                                                                                                                                  Yes           $


                                                                                                                                  No
                                                                                                                                  Yes      +    $


                                                                                                                                            Copy
                                                                                                                                            total
    33e. Total average monthly payment. Add lines 33a through 33d                                                  $           2,850.00     here=>       $    2,850.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                         page 5
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                                                      Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1      William John Berman                                                                                      Case number (if known)     19-60230-pcm11
    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

              No.      Go to line 35.
         Yes. State any amount that you must pay to a creditor, in addition to the payments
                        listed in line 33, to keep possession of your property (called the cure amount).
                        Next, divide by 60 and fill in the information below.

     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                     Monthly cure
                                                                                                                                                                   amount

     -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                  Total $                        0.00      here=>           $             0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No.      Go to line 36.
         Yes. Fill in the total amount of all of these priority claims. Do not include current or
                        ongoing priority claims, such as those you listed in line 19.

                          Total amount of all past-due priority claims                                                       $                   0.00       ÷ 60        $                 0.00

    36. Projected monthly Chapter 13 plan payment                                                                            $
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $                       here=> $



    37. Add all of the deductions for debt payment.                                                                                                                     $        2,850.00
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                    $          6,219.00
            Copy line 32, All of the additional expense deductions                                $             539.00
            Copy line 37, All of the deductions for debt payment                                 +$          2,850.00


            Total deductions..................................................................    $          9,608.00                Copy total here=>              $               9,608.00




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                                   page 6
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                                               Exhibit 2 - Berman Projected Disposable Income Calculation

 Debtor 1    William John Berman                                                                       Case number (if known)     19-60230-pcm11

 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                                $                  12,243.00
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                   0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 400.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here               =>     $            9,608.00
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

             Non-Filing Spouse's Expenses and Debt Payments                           $                500.00
                                                                                      $
                                                                                      $

                                                                                                              Copy
                                                                            Total $            500.00         here=> $               500.00


                                                                                                                                     Copy
    44. Total adjustments. Add lines 40 through 43                                                =>      $         10,508.00        here=> -$           10,508.00


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                       $            1,735.00


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you
        reported in this form have changed or are virtually certain to change after the date you filed
        your bankruptcy petition and during the time your case will be open, fill in the information
        below. For example, if the wages reported increased after you filed your petition, check
        122C-1 in the first column, enter line 2 in the second column, explain why the wages
        increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or        Amount of change
                                                                                                                   decrease?

                                    Air Force Separation Benefits will end
                                    in November 2020. Monthly amount
                                    listed on Line 10 will cease after the
                                    equivalent of 24 months' worth is
                                    received by the Debtor, leaving 36
     122C-1                        months in which the income should be
                                                                                                                    Increase
     122C-2            10          excluded.                                                10/1/2021              Decrease         $          1,243.00
     122C-1                                                                                                        Increase
     122C-2                                                                                                        Decrease         $
     122C-1                                                                                                        Increase
     122C-2                                                                                                        Decrease         $
     122C-1                                                                                                        Increase
     122C-2                                                                                                        Decrease         $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                  page 7
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      EXHIBIT 3
BERMAN LIQUIDATION ANALYSIS




    Case 19-60138-pcm11   Doc 246   Filed 10/09/19
In re: B. J. Property Investments, Inc., Bankr. Case No. 19-60138-pcm11; and
In re: William John Berman, Bankr. Case No. 19-60230-pcm11 (Jointly Administered)


                                                                        Exhibit 3: Berman Liquidation Analysis            attached           dkt. ___

Itemized below are any changes to the most recent bankruptcy Schedules A&B, attached/at docket # →→→                         44
1. Total from bankruptcy Schedule A:              $     568,060.00 A/B.28. Tax Refunds                                $            -
Less: Anticipated Cost of Sale                    $     (45,444.80) A/B.29. Family Support                            $            -
Less: Quicken Loans:                              $    (319,560.00) A/B.30. Amounts Owed to You                       $            -
Less: Debra Berman 50% Interest                   $    (101,527.60) A/B.31. Insurance Policies (Cash Value)           $      72,288.00
                                                                    A/B.32. Inheritance Interests                     $            -
                                                 $             -   A/B.33. Claims Against Third-Parties               $              -
           2.Adjusted total, Schedule A property $      101,527.60 A/B.34. Other Claims                               $              -
3. Total from bankruptcy Schedule B              $             -   A/B.35. Other Financial Assets (specify):          $              -
                                                                          William Lloyd Developments, Inc. / Debra                    Notes on valuation: Subject to any court order
A/B.3. Vehicles                                   $             -                                                     $    107,690.33 or attached continuation sheet:
                                                                          Berman
                                                                                                                                      (1) Real estate valuation assumes 8% costs of
A/B.4. Watercraft                                 $            -   A/B.53. Other Property of Any Kind (specify):      $           -
                                                                                                                                      sale.
A/B.6. Household goods and furnishings            $       2,450.00      Lawn equipment                                $        100.00 (2) "Avoidance action" on Line No. 5 is Debtor's
A/B.7. Electronics                                $         500.00      Hand tools                                    $        200.00 share of funds contributed to grandchildren.
A/B.8. Collectibles                               $         400.00               4.Adjusted total, Sch. B property    $    560,211.44
A/B.9. Equipment for Sports/Hobbies               $         150.00 5. Other (e.g., avoidance actions-itemize)         $     10,870.29
A/B.10. Firearms                                  $            -   6. Total Assets (ln.2+4+5)                         $    672,609.33
A/B.11. Clothes                                   $         500.00 7. Claims Senior to General Unsecured Claims                              Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                   $         200.00 7a. Secured claims (after bifurcation)       $                  -   $       672,609.33 Total disbursements
A/B.13. Non-farm Animals                          $            -   7b. Chapter 7: trustee fees (from sidebar)   $            14,181.54 $      (453,978.58) Minus exemptions

A/B.14. Other Personal and Household Items        $             -    7c. Chapter 7: other costs of administration     $              -   $              -   Minus adjustments*

A/B.16. Cash                                      $         200.00 7d. Chapter 11: unpaid professionals' fees         $      50,000.00 $       218,630.75 = Net disbursements
A/B.17. Checking Account                          $      35,937.53 7e. Chapter 11: other administrative costs         $            -                  § 326 calculations
A/B.18. Stocks (Publicly Traded), Bonds, Etc.     $             -    7f. Priority claims (bankruptcy Schedule E)      $              -   $       5,000.00 X 25%= $           1,250.00
A/B.19. Closely Held Business Interests           $             -    7g. Debtor's exemptions (bankr. Sch.C)           $    453,978.58 $         45,000.00 X 10%= $           4,500.00

A/B.20. Gov. and Corp. Bonds                      $             -    7h. Other/adjustments (See Notes on valuation) $                -   $     168,630.75 X 5%=      $       8,431.54

A/B.21. Retirement Accounts                       $     309,775.58   8. Total Senior Claims (ln. 7a to 7h)            $     518,160.12 $                 -    X 3%= $              -
A/B.22. Security Deposits                         $            -     9. Net available for unsecured (ln.6-ln.8)       $     154,449.21 $       218,630.75 Totals $           14,181.54
A/B.23. Annuities                                 $      29,820.00   10a.Gen. unsecured claims from schedule F        $   2,527,208.63            Adjustment (if any) $            -
A/B.24. Tuition Programs, Education IRAs          $            -     10b.Other gen. unsecured claims (if any)         $   4,864,951.00                     Trustee Fee $     14,181.54
A/B.25. Trusts                                    $            -     11.Total gen. unsecured (ln.10a+10b)             $   7,392,159.63 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP             $             -    12. Ch. 7 Estimated Dividend (ln.9/ln.11)                    2.1% refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.       $             -    13. Plan Dividend (Classes 5 and 7)              $     160,000.00 to third parties.


                                                                                                                                                              Exhibit 3, Page 1 of 1
                                                           Case 19-60138-pcm11                     Doc 246           Filed 10/09/19
 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that the foregoing DEBTORS’ AMENDED JOINT DISCLOSURE
     STATEMENT (OCTOBER 8, 2019) was served on the parties indicated as “ECF” on the
 3   attached List of Interested Parties by electronic means through the Court’s Case
     Management/Electronic Case File system on the date set forth below.
 4
             In addition, the parties indicated as “Non-ECF” on the attached List of Interested
 5   Parties were served by mailing a copy thereof in a sealed, first-class postage prepaid
     envelope, addressed to each party’s last-known address and depositing in the U.S. mail at
 6   Portland, Oregon on the date set forth below.
 7          DATED this 8th day of October, 2019.
 8                                               TONKON TORP LLP
 9

10                                               By /s/ Timothy J. Conway
                                                    Timothy J. Conway, OSB No. 851752
11                                                  Ava L. Schoen, OSB No. 044072
                                                    Attorneys for B. & J. Property Investments, Inc.
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Page 1 of 1 - CERTIFICATE OF SERVICE


                                          Tonkon Torp LLP
                                          888 SW Fifth Avenue, Suite 1600
                                              Portland, Oregon 97204
                                                   503-221-1440
                      Case 19-60138-pcm11              Doc 246              Filed 10/09/19
                               CONSOLIDATED LIST OF INTERESTED PARTIES
                                       In re B. & J. Property Investments, Inc.
                                  U.S. Bankruptcy Court Case No. 19-60138-pcm11
                                             In re William J. Berman
                                  U.S. Bankruptcy Court Case No. 19-60230-pcm11
                                             ECF PARTICIPANTS
   TIMOTHY J CONWAY tim.conway@tonkon.com, candace.duncan@tonkon.com,
    spencer.fisher@tonkon.com
   NICHOLAS J HENDERSON nhenderson@portlaw.com, tsexton@portlaw.com; mperry@portlaw.com;
    hendersonnr86571@notify.bestcase.com
   KEITH D KARNES kkarnes@keithkarnes.com, kkarnesnotices@gmail.com; patricia@keithkarnes.com;
    9982680420@filings.docketbird.com;r51870@notify.bestcase.com
   SHANNON R MARTINEZ smartinez@sglaw.com, scurtis@sglaw.com
   ERICH M PAETSCH epaetsch@sglaw.com, ktate@sglaw.com
   TERESA H PEARSON teresa.pearson@millernash.com, MNGD-2823@millernash.com
   AVA L SCHOEN ava.schoen@tonkon.com, leslie.hurd@tonkon.com
   TROY SEXTON tsexton@portlaw.com, nhenderson@portlaw.com,mperry@portlaw.com,troy-sexton-
    4772@ecf.pacerpro.com
   TOBIAS TINGLEAF toby@shermlaw.com, darlene@shermlaw.com
   US TRUSTEE, Eugene USTPRegion18.EG.ECF@usdoj.gov
                                          NON-ECF PARTICIPANTS

B. & J. TOP 20 UNSECURED              HotSuff Spas & Pool                  Saalfeld Griggs PC
CREDITORS                             1840 Lancaster Dr. NE                Attn: Hunter Emerick
                                      Salem, OR 97305                      Park Place, Suite 200
Class Action Plaintiffs                                                    250 Church St. SE
c/o Brady Mertz                       NW Natural Gas                       Salem, OR 97301
Brady Mertz PC                        POB 6017
345 Lincoln St.                       Portland, OR 97228-6017              Susan Stoehr
Salem, OR 97302                                                            24310 S Hwy 99E, Space G
                                      Chateau Locks                        Canby, OR 97013
Portland General Electric             1820 47th Terrace East
POB 4438                              Bradenton, FL 34203-3773             Stephen Joye
Portland, OR 97208                                                         Fischer, Hayes, et al.
                                      Century Link                         3295 Triangle Dr SE #200
Judson's Plumbing                     Bankruptcy Dept.                     Salem, OR 97302
POB 12669                             600 New Century Parkway
Salem, OR 97330                       New Century, KS 66031                Nancy Wolf
                                                                           2008 SE Sturdevant Rd
City of Salem                         Walter Nelson Company                Toledo, OR 97391
555 Liberty St. SE, Room 230          1270 Commercial St. NE
Salem, OR 97301                       Salem, OR 97301                      BERMAN SECURED CREDITOR
Comcast Business                      Statesman Journal                    Quicken Loans Inc.
POB 34744                             340 Vista Ave. SE                    635 Woodward Ave.
Seattle, WA 98124-1744                Salem, OR 97302                      Detroit, MI 48226

Pacific Source                        Pacific Screening                    BERMAN TOP 20 UNSECURED
POB 7068                              POB 25582                            CREDITORS
Springfield, OR 97475-0068            Portland, OR 97298
                                                                           Class Action Plaintiffs
Pacific Sanitation                    DEX Media                            c/o Brady Mertz
POB 17669                             Dex Media Attn: Client Care          Brady Mertz PC
Salem, OR 97305                       1615 Bluff City Highway              345 Lincoln St.
                                      Bristol, TN 37620                    Salem, OR 97302
US Bank
POB 6352                              AllAmerican Insurance                Saalfeld Griggs PC
Fargo, ND 58125-6352                  POB 758554                           Attn: Hunter Emerick
                                      Topeka, KS 66675-8554                Park Place, Suite 200
Miller Paint                                                               250 Church St. SE
390 Lancaster Dr. NE                  US Bank                              Salem, OR 97301
Salem, OR 97301                       POB 6352
                                      Fargo, ND 58125


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Heather Noble
4490 Silverton Rd NE #4
Salem, OR 97305-2060




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